      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 1 of 38



                                                            SchC: Gross
   Tax Year       Last Name      SchC: Principal Business                 SchC: Profit/Loss
                                                              Income

2013 - PY2013                                                    70,943               1,703
2013 - PY2013                                                    20,800              20,320
2014 - PY2014                                                    83,935               9,799
2014 - PY2014                                                    82,503               9,090
2014 - PY2014                                                    59,190               8,728
2014 - PY2014                                                    48,779               6,896
2015 - PY2015                                                    75,116              24,251
2013 - PY2013   A. BE.        ADMINISTRATION                      6,000               6,000
2016 - PY2016   A BI.         SECURITY                              931                 406
2013 - PY2013   A BO.         COSMETIC BEAUTY SUPP                  525              (3,770)
2014 - PY2014   A BO.         COSMETIC BEAUTY SUPP                  894              (3,820)
2015 - PY2015   A BO.         COSMETIC BEAUTY SUPPLY                603              (3,385)
2016 - PY2016   A BO.         COSMETIC BEAUTY SUPPLY                625              (2,299)
2015 - PY2015   A BR.         CONSTRUCTION / ROOFI                8,395               3,016
2015 - PY2015   A BR.         ROOFING                            12,897               5,008
2013 - PY2013   A BU.         CONSTRUCTION                        5,850                 703
2014 - PY2014   A BU.         CONSTRUCTION / CARPE               18,035               5,181
2015 - PY2015   A BU.         CONSTRUCTION / CARPENTRY           18,207              10,191
2016 - PY2016   A BU.         CONSTRUCTION / CARPENTRY           14,350               6,410
2013 - PY2013   A. C.         TRAVELING NURSE                    53,074              25,462
2014 - PY2014   A. C.         TRAVELING NURSE                    31,645              12,524
2015 - PY2015   A. C.         TRAVELING NURSE                    73,838              54,716
2016 - PY2016   A. C.         TRAVELING NURSE                    49,067              14,543
2015 - PY2015   A. CA.        INTERNET PRODUCT SALES             47,048              (7,632)
2016 - PY2016   A. CA.        INTERNET PRODUCT SALES             27,253              (6,698)
2013 - PY2013   A. DA.        CONTRACTOR                         21,214              10,564
2013 - PY2013   A. DA.        HEALTH FOOD                         5,122               3,787
2014 - PY2014   A. DA.        HEALTH FOOD                         1,664               1,664
2013 - PY2013   A. DU.        FLOAT DESIGNER                    129,680              19,089
2014 - PY2014   A. DU.        FLOAT DESIGNER                    137,570              30,745
2015 - PY2015   A. DU.        FLOAT DESIGNER                    130,648              20,258
2016 - PY2016   A. DU.        FLOAT DESIGNER                    126,760              16,348
2016 - PY2016   A. DUF.       MAINTENANCE : WELDER                4,033               3,453
2013 - PY2013   A. F.         BOAT REPAIR                         9,840               5,495
2013 - PY2013   A. F.         HOUSEKEEPING                        7,165               4,835
2013 - PY2013   A. F.         TRAWLING                           18,655              (7,823)
2014 - PY2014   A. F.         BOAT REPAIR                         9,860               5,123
2014 - PY2014   A. F.         HOUSEKEEPING                          725                 725
2014 - PY2014   A. F.         TRAWLING                           46,730               4,277
2015 - PY2015   A. F.         BOAT REPAIR                         4,265               3,137
2015 - PY2015   A. F.         TRAWLING                           38,543               5,960
2016 - PY2016   A. F.         BOAT REPAIR                         1,650               1,363
2016 - PY2016   A. F.         TRAWLING                           26,736               1,396

                                                                                   EXHIBIT
                                                                                        O
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 2 of 38


2013 - PY2013   A. FO.     LAWNCARE SERVICES                  9,100           556
2014 - PY2014   A. FO.     LAWNCARE SERVICES                 12,350        (5,189)
2015 - PY2015   A. FO.     LAWNCARE SERVICES                 29,025            23
2016 - PY2016   A. FO.     LAWNCARE SERVICES                 21,511         2,233
2013 - PY2013   A. FOR.    MUSICIAN                         127,710        12,520
2014 - PY2014   A. FOR.    MUSICIAN                         146,439        11,181
2015 - PY2015   A. FOR.    MUSICIAN                         219,630         7,696
2016 - PY2016   A. FOR.    MUSICIAN                         151,400         6,976
2014 - PY2014   A. G.      BEAUTICIAN                         4,304        (5,556)
2015 - PY2015   A. G.      BEAUTICIAN                         4,960        (8,668)
2013 - PY2013   A. GR.     MASSAGE THERAPIST                 26,319         4,570
2014 - PY2014   A. GR.     MASSAGE THERAPIST                 11,681         3,681
2016 - PY2016   A. GRO.    COMMERCIAL PILOT                  28,385        14,368
2016 - PY2016   A. GRO.    COMMERCIAL PILOT                  24,382        10,935
2016 - PY2016   A. GU.     CONSTRUCTION                      12,964         1,847
2015 - PY2015   A III      NURSE PRACTIONER                  21,250         9,165
2014 - PY2014   A JR       MUSICIAN                             800           175
2013 - PY2013   A. K.                                        13,800        10,060
2013 - PY2013   A. L.      HOME HEALTH                       21,725         6,333
2014 - PY2014   A. L.      HOME HEALTH                       46,100        31,534
2013 - PY2013   A. M.      MAINTENANCE                        4,541         3,229
2013 - PY2013   A. MO.                                        9,463         3,098
2013 - PY2013   A. MO.                                       57,032        10,676
2013 - PY2013   A. MO.                                       40,923        10,040
2013 - PY2013   A. MO.     PLUMBER                            9,463         3,098
2013 - PY2013   A. MOR.    SALES                              1,362         1,362
2014 - PY2014   A. MOR.    SALES                              2,728         1,786
2015 - PY2015   A. MOR.    SALES                                780           780
2014 - PY2014   A. N.      CONSULTING                        32,389        (9,530)
2015 - PY2015   A. N.      CONSULTING                         3,200        (9,852)
2016 - PY2016   A. N.      CONSULTING                        37,330         1,859
2015 - PY2015   A. P.      TRAVELING SPORTS TEAM & CONSULTING 9,580
                                                              CO           (9,956)
2016 - PY2016   A. P.      TRAVELING SPORTS TEAM & CONSULTING 8,491
                                                              CO           (4,274)
2014 - PY2014   A. PR.     JANITORIAL                         3,600         1,665
2015 - PY2015   A. PR.     JANITORIAL                         3,600         3,600
2016 - PY2016   A. PR.     JANITORIAL                         3,600         1,715
2013 - PY2013   A. R.      COSMOTOLOGIST                     11,725         6,610
2014 - PY2014   A. R.      COSMOTOLOGIST                      8,316         3,722
2016 - PY2016   A. RO.     TRANSPORTATION                     1,432         1,432
2013 - PY2013   A. ROU.    AUTO MECHANIC : SERV              22,290        10,290
2013 - PY2013   A. ROU.    REAL ESTATE AGENT                  6,963         6,693
2013 - PY2013   A. ROU.    SECRETARY : SERVICE               15,310        15,310
2014 - PY2014   A. ROU.    REAL ESTATE AGENT :                7,349        (2,147)
2015 - PY2015   A. ROU.    REAL ESTATE AGENT : SERVICE       20,181         6,700
2016 - PY2016   A. ROU.    REAL ESTATE AGENT : SERVICE       36,161         8,881
2015 - PY2015   A. S.      SALES                              1,120           835
2013 - PY2013   A. S.      ALTERATIONS                       52,362        17,585
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 3 of 38


2014 - PY2014   A. S.      ALTERATIONS                      55,358          10,178
2014 - PY2014   A. S.      CONSTRUCTION                      4,815           1,367
2016 - PY2016   A. S.                                       33,412          12,464
2016 - PY2016   A. S.      ALTERATIONS                      24,387             367
2015 - PY2015   A. SC.     FENCE INSTALLATION AND REPAIR   357,005          24,801
2016 - PY2016   A. SC.     FENCE INSTALLATION AND REPAIR   469,174          23,680
2013 - PY2013   A. SCO.    COFFEE SHOP                     295,780          17,240
2014 - PY2014   A. SCO.    COFFEE SHOP                     337,127         (24,848)
2015 - PY2015   A. SCO.    COFFEE SHOP                     399,430          19,723
2016 - PY2016   A. SCO.    COFFEE SHOP                     348,939          10,026
2016 - PY2016   A. SCO.    COFFEE SHOP                     348,939          10,026
2013 - PY2013   A. SE.                                       7,745             432
2014 - PY2014   A. SEY.    POLICE DETAIL                    15,165           2,639
2015 - PY2015   A. SEY.    POLICE DETAIL                    14,400           2,156
2016 - PY2016   A. SEY.    POLICE DETAIL                    18,070           1,440
2013 - PY2013   A. SH.     GYMNASTICS TEACHER                2,292           1,412
2013 - PY2013   A. SH.     MAINTENANCE                       4,256           3,871
2014 - PY2014   A. SH.     GYMNASTICS TEACHER                2,574           2,044
2014 - PY2014   A. SH.     MAINTENANCE                       4,866           4,131
2014 - PY2014   A. SH.     TRAINER                           1,639             809
2015 - PY2015   A. SH.     GYMNASTICS TEACHER                4,330           3,188
2015 - PY2015   A. SH.     MAINTENANCE                       1,335           1,335
2015 - PY2015   A. SH.     TRAINER                           7,347           1,122
2016 - PY2016   A. SH.     TRAINER                          12,343           1,113
2013 - PY2013   A. SK.     HOME CARE SERVICE                 3,943           3,943
2013 - PY2013   A. SO.     TRAWL BOAT                        2,280         (12,898)
2014 - PY2014   A. SO.     TRAWL BOAT                        1,440          (9,226)
2015 - PY2015   A. SO.     TRAWL BOAT                                      (19,744)
2016 - PY2016   A. SO.     TRAWL BOAT                                      (14,912)
2013 - PY2013   A SR       BOAT RENTAL                      41,600           5,013
2013 - PY2013   A SR       DEPUTY CONSTABLE                 35,700          12,513
2014 - PY2014   A SR       BOAT RENTAL                         429          (3,428)
2014 - PY2014   A SR       CONSTRUCTION                     70,892           3,103
2015 - PY2015   A SR       BOAT RENTAL                         429          (2,326)
2015 - PY2015   A SR       CONSTRUCTION                     43,549          15,071
2016 - PY2016   A SR       CONSTRUCTION                     18,022           9,460
2016 - PY2016   A. ST.     AUDIO ENGINEER                   12,374           3,492
2015 - PY2015   A. T.      SAFETY INSTRUCTOR                 1,912           1,297
2013 - PY2013   A. TR.                                      35,225             234
2013 - PY2013   A. VA.     SECURITY DETAIL                   6,570           1,807
2016 - PY2016   A. VA.     SECURITY DETAIL                   4,408           1,158
2014 - PY2014   AB.        SALES                             7,010           1,280
2015 - PY2015   AB.        SALES                             5,812           1,276
2016 - PY2016   AB.        FLOOR MAINTENANCE                 1,552          (3,646)
2016 - PY2016   AD.        DRAFTSMAN                        16,550          11,148
2013 - PY2013   AG.        FISHERMAN                         7,010          (1,275)
2014 - PY2014   AG.        FISHERMAN                         3,945          (2,344)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 4 of 38


2015 - PY2015   AG.        FISHERMAN                            10,722               (5,350)
2016 - PY2016   AG.        FISHERMAN                             2,038               (9,981)
2014 - PY2014   AL.        SALES                                 3,608               (1,855)
2013 - PY2013   ALE.       FLEET PART SPECIALTI                 57,665                4,585
2014 - PY2014   ALE.       FLEET PART SPECIALTI                 56,830                7,060
2015 - PY2015   ALE.       FLEET PART SPECIALTIES              178,065               (4,529)
2016 - PY2016   ALE.       FLEET PART SPECIALTIES              258,394               13,671
2013 - PY2013   ALL.       MASSAGE THERAPIST                     8,580                3,220
2013 - PY2013   ALL.       ONLINE SALES                            -                 (2,449)
2014 - PY2014   ALL.       MASSAGE THERAPIST                     5,250                   36
2014 - PY2014   ALL.       ONLINE SALES                            -                 (2,535)
2015 - PY2015   ALL.       MASSAGE THERAPIST, ONLINE SALES       5,250 722, -1810
2016 - PY2016   ALL.       ONLINE SALES, MASSAGE THERAPIST       6,150 -1293, 1214
2013 - PY2013   AP.        SCOREKEEPER                           1,860                  430
2016 - PY2016   B. B.      CLERICAL - EXECUTIVE ASST.            4,866                1,558
2016 - PY2016   B. C.      RETAIL SALES - FIREWORKS              2,712               (3,754)
2013 - PY2013   B. F.      CARPET INSTALLER                     88,317               15,154
2014 - PY2014   B. F.      CARPET INSTALLER                     95,403               18,798
2015 - PY2015   B. F.      CARPET INSTALLER                     88,320               19,515
2016 - PY2016   B. F.      CARPET INSTALLER                     86,641               17,981
2013 - PY2013   B. G.      ESTHETICIAN                          44,428               10,967
2014 - PY2014   B. G.      ESTHETICIAN                           2,150                   30
2016 - PY2016   B. G.      ESTHETICIAN                           2,595                  133
2014 - PY2014   B. L.      NOTARY                                6,221                1,221
2015 - PY2015   B. L.      NOTARY                                2,150                  751
2016 - PY2016   B. L.      NOTARY                               10,750                1,426
2015 - PY2015   B. LE.                                          28,440                  420
2015 - PY2015   B. LE.                                          25,330                  402
2015 - PY2015   B. LE.                                          24,550                  309
2015 - PY2015   B. LE.                                          23,645                  430
2015 - PY2015   B. LE.     BARBER                               25,620                  430
2014 - PY2014   B. LO.     PHYSICAL THERAPIST                   80,900               44,999
2016 - PY2016   B. LO.     PHYSICAL THERAPIST                  131,340               33,257
2016 - PY2016   B. LO.     PHYSICAL THERAPIST                   93,811               41,573
2013 - PY2013   B. P.      SONOGRAPHY                           30,330               17,851
2014 - PY2014   B. P.      SONOGRAPHY                           31,080               11,619
2015 - PY2015   B. P.      SONOGRAPHY                           30,330                3,850
2016 - PY2016   B. P.      SONOGRAPHY                           31,130                3,115
2013 - PY2013   B. PU.     BEAUTICIAN                           12,000                8,045
2014 - PY2014   B. PU.     BEAUTICIAN                            4,000                  423
2015 - PY2015   B. PU.     BEAUTICIAN                            2,500                  425
2013 - PY2013   B. R.                                           24,320                4,880
2013 - PY2013   B. R.      CONSTRUCTION                         24,750                3,211
2014 - PY2014   B. R.      CONSTRUCTION                         29,250                7,939
2016 - PY2016   B. S.      JANITORIAL : COMMERCIAL / RESIDENTIAL26,740
                                                                 CLEANING            17,769
2014 - PY2014   B. T.      MANICURIST                           10,494                2,164
2015 - PY2015   B. T.      MANICURIST                           12,500                2,685
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 5 of 38


2016 - PY2016   B. T.      MANICURIST                       26,227           5,405
2013 - PY2013   BA.        TRUCK DRIVER                     93,132             431
2015 - PY2015   BAS.       CONSTRUCTION                     19,310          10,688
2016 - PY2016   BAS.       CONSTRUCTION                     58,660          18,472
2013 - PY2013   BAY.       HAIR STYLIST                     16,180           4,230
2014 - PY2014   BAY.       HAIR STYLIST                     13,280           1,790
2015 - PY2015   BAY.       HAIR STYLIST                      7,250             677
2016 - PY2016   BAY.       HAIR STYLIST                     22,370          12,462
2013 - PY2013   BE.        JANITORIAL                       18,391             411
2013 - PY2013   BER.       DELIVERY                          1,220             995
2014 - PY2014   BER.       DELIVERY                            700             700
2015 - PY2015   BER.       DELIVERY                            700             700
2016 - PY2016   BER.       DELIVERY                            740             740
2015 - PY2015   BL.        BOAT RENTALS                      9,300         (13,512)
2016 - PY2016   BL.        BOAT RENTALS                                    (13,622)
2014 - PY2014   Blo.       CONSULTING                          213             213
2015 - PY2015   Blo.       SECURITY DETAIL                     160             160
2014 - PY2014   BO.        LAWN CARE                         1,400          (1,583)
2014 - PY2014   BO.        OUTSIDE SALES                     5,400
2015 - PY2015   BO.        LAWN CARE                         3,360         (1,597)
2015 - PY2015   BO.        OUTSIDE SALES                     7,040            790
2016 - PY2016   BO.        LAWN CARE                         3,640         (3,081)
2013 - PY2013   BON.       CATERING                          3,100            157
2014 - PY2014   BON.       CATERING                          1,394         (3,070)
2014 - PY2014   BON.       CLOTHING SALES                     (250)        (1,420)
2015 - PY2015   BON.       CATERING                         11,449         (2,732)
2015 - PY2015   BON.       CLOTHING SALES                      -             (830)
2016 - PY2016   BON.       CATERING                          3,927         (1,351)
2013 - PY2013   BOU.       PRODUCT SALES                    18,250         16,120
2014 - PY2014   BOY.       SALES                             1,400            650
2016 - PY2016   BR.        BARTENDER                         1,185         (1,782)
2013 - PY2013   BRE.       MEDICAL TRANSCRIPTIO             12,739          9,090
2014 - PY2014   BRE.       MEDICAL TRANSCRIPTIO             15,399          7,325
2015 - PY2015   BRE.       MEDICAL TRANSCRIPTION            18,681          9,916
2016 - PY2016   BRE.       MEDICAL TRANSCRIPTION            14,735          6,340
2014 - PY2014   BREL.      AIRPLANE MAINTENANCE              6,950            247
2013 - PY2013   BRI.       CONSTRUCTION / ROOFI             22,166         10,834
2013 - PY2013   BRO.       PAINTING CONTRACTOR              37,674          4,946
2014 - PY2014   BRO.       PAINTING CONTRACTOR              46,043            325
2015 - PY2015   BRO.       PAINTING CONTRACTOR             133,278         33,453
2016 - PY2016   BRO.       PAINTING CONTRACTOR             130,307         33,376
2014 - PY2014   BROU.      SECURITY DETAIL                   6,300            346
2013 - PY2013   BROW.      TIRE REPAIR SERVICE              95,965         11,073
2014 - PY2014   BROW.      ESTIMATOR                        12,680         10,750
2015 - PY2015   BROW.      ESTIMATOR                        20,000         10,420
2016 - PY2016   BROW.      ESTIMATOR                        23,000         17,181
2013 - PY2013   BU.        LEGAL ASSISTANT                   7,671          7,671
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 6 of 38


2014 - PY2014   BU.        LEGAL ASSISTANT                   3,760          1,955
2016 - PY2016   BUF.       AUTOMOTIVE BODY REPAIR           29,923         16,079
2016 - PY2016   BUF.       AUTOMOTIVE BODY REPAIR           28,046         17,142
2016 - PY2016   BUF.       AUTOMOTIVE BODY REPAIR           28,046         17,142
2016 - PY2016   BUF.       MISC. SERVICES                    5,642          5,642
2016 - PY2016   BUF.       MISC. SERVICES                    5,525          5,525
2016 - PY2016   BUF.       MISC. SERVICES                    5,525          5,525
2013 - PY2013   BU*        RETAIL SEAFOOD                  144,076         43,022
2014 - PY2014   BU*        RETAIL SEAFOOD                  107,816         18,426
2013 - PY2013   BUR.                                         8,950          1,290
2013 - PY2013   BUR.       COMPUTER PROGRAMMER               6,800          1,450
2014 - PY2014   BUR.       COMPUTER PROGRAMMER               5,050            965
2015 - PY2015   BUR.       COMPUTER PROGRAMMER               7,670          1,592
2013 - PY2013   C. B.      PRODUCT SALES                     1,364          1,364
2013 - PY2013   C. BO.     DELIVERY                          1,400          1,175
2015 - PY2015   C. BOU.    PETROLEUM CONSULTANT             49,728         19,683
2016 - PY2016   C. BOU.    PETROLEUM CONSULTANT              7,635          3,125
2016 - PY2016   C. BOU.    PETROLEUM CONSULTANT              1,635          3,125
2014 - PY2014   C. C.      SOFTWARE SALES                    5,958          1,626
2015 - PY2015   C. C.      SOFTWARE SALES                   57,527         31,108
2016 - PY2016   C. C.      REAL ESTATE SALES                 4,072         (4,579)
2016 - PY2016   C. C.      SOFTWARE SALES                   53,454         24,425
2013 - PY2013   C. CH.     PLUMBER                          31,426            584
2014 - PY2014   C. CH.     PLUMBER                          45,330          7,311
2015 - PY2015   C. CH.     PLUMBER                          47,980         14,241
2016 - PY2016   C. CH.     PLUMBER                          41,270         10,972
2016 - PY2016   C. D.      OILFIELD SUPPLY SALES             1,135          1,135
2013 - PY2013   C. E.      BARBER SERVICES                  28,248         18,353
2014 - PY2014   C. E.      BARBER SERVICES                  32,256         21,398
2015 - PY2015   C. E.      BARBER SERVICES                  32,316         15,572
2016 - PY2016   C. E.      BARBER SERVICES                  31,852         16,278
2015 - PY2015   C. G.      PHOTOGRAPHY                       3,120            -
2016 - PY2016   C. G.      PHOTOGRAPHY                       9,950          1,336
2014 - PY2014   C. GR.     CONSTRUCTION                     25,970         12,747
2016 - PY2016   C. GR.     CONSTRUCTION                      8,030          1,745
2016 - PY2016   C. H.      JANITORIAL SERVICES                              4,530
2013 - PY2013   C III      INSPECTION                      181,451         28,500
2014 - PY2014   C III      INSPECTION                      182,460         25,133
2015 - PY2015   C III      INSPECTION                      192,501         12,185
2016 - PY2016   C III      INSPECTION                      192,635         20,948
2014 - PY2014   C JR       HEALTH FOOD SALES                33,132         30,902
2014 - PY2014   C JR       LEGAL PROCESS SERVER              5,034          2,017
2015 - PY2015   C JR       HEALTH FOOD SALES                49,812         27,666
2015 - PY2015   C JR       LEGAL PROCESS SERVER              4,176          1,191
2013 - PY2013   C. K.      SALES                            11,210          1,990
2013 - PY2013   C. K.      SALES                            11,026          1,752
2014 - PY2014   C. K.      SALES                             9,183          1,412
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 7 of 38


2014 - PY2014   C. K.      SALES                             7,128           1,487
2015 - PY2015   C. K.      SALES                            10,546           4,803
2015 - PY2015   C. K.      SALES                            11,440           3,372
2016 - PY2016   C. K.      SALES                             7,629           2,760
2016 - PY2016   C. K.      SALES                            11,715           3,556
2015 - PY2015   C. L.      TRUCKING                         25,717           1,823
2016 - PY2016   C. L.      TRUCKING                         39,900           3,198
2014 - PY2014   C. LI.     CARETAKER FOR THE EL              9,581           4,970
2014 - PY2014   C. LI.     SCHOOL BUS OPERATOR              34,503          25,370
2014 - PY2014   C. M.      LIMOUSINE DRIVER                  2,465             775
2013 - PY2013   C. MA.                                      34,433             368
2015 - PY2015   C. R.      CONSTRUCTION                     35,190           6,173
2014 - PY2014   C. RO.     FISHING GUIDE                     2,000          (8,631)
2015 - PY2015   C. RO.     FISHING GUIDE                     2,150          (5,319)
2016 - PY2016   C. RO.     FISHING GUIDE                     1,820          (7,158)
2014 - PY2014   C. RU.     COACHING                          6,125           3,380
2015 - PY2015   C. RU.     BOAT CAPTAIN                      9,030           3,612
2015 - PY2015   C. RU.     CHARTER FISHING                  22,480         (19,149)
2015 - PY2015   C. RU.     COACHING                          3,950           3,774
2016 - PY2016   C. RU.     BOAT CAPTAIN                      6,742           5,584
2016 - PY2016   C. RU.     CHARTER FISHING                  40,900             623
2016 - PY2016   C. RU.     COACHING                          2,475           2,250
2013 - PY2013   C. S.                                        2,948             427
2014 - PY2014   C. SC.                                      70,069          34,609
2014 - PY2014   C. SK.                                      48,000             755
2014 - PY2014   C SKE.     BOAT CAPTAIN                     72,593           1,914
2013 - PY2013   C SR       EMBROIDERY                          756             336
2013 - PY2013   C SR       FISHERMAN                         8,536          (2,241)
2014 - PY2014   C SR       FISHERMAN                         9,621           2,103
2015 - PY2015   C SR       FISHERMAN                        19,250             416
2013 - PY2013   C. ST.     COLLISION REPAIRS                12,590             778
2014 - PY2014   C. ST.     COLLISION REPAIRS                16,182           1,303
2015 - PY2015   C. ST.     COLLISION REPAIRS                 7,049           1,140
2016 - PY2016   C. ST.     COLLISION REPAIRS                 7,666           1,550
2016 - PY2016   C. ST.     COLLISION REPAIRS                 7,666           1,550
2013 - PY2013   C. V.      POLICE OFFICER                    7,252           1,445
2014 - PY2014   C. V.      POLICE DETAIL                     5,523             728
2014 - PY2014   C. VI.     SECURITY DETAIL                  17,774           8,117
2015 - PY2015   C. VI.     SECURITY DETAIL                  18,362           3,633
2016 - PY2016   C. VI.     SECURITY DETAIL                  27,649           9,981
2015 - PY2015   C. WI.     PLUMBING / DRAIN CLEANING        15,600          14,575
2016 - PY2016   C. WI.     PLUMBING / DRAIN CLEANING        18,422          17,952
2013 - PY2013   CA.        COMMERCIAL FISHING               74,965          10,557
2014 - PY2014   CA.        COMMERCIAL FISHING               66,399          10,873
2015 - PY2015   CA.        COMMERCIAL FISHING               62,540           8,383
2015 - PY2015   CA.        SCALE OPERATOR                    4,841           3,278
2016 - PY2016   CA.        COMMERCIAL FISHING               48,717           3,367
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 8 of 38


2013 - PY2013   CAR.       ROOFING                          60,249         55,187
2014 - PY2014   CAR.       ROOFING                          27,130         23,602
2014 - PY2014   CARP.      SHOWHORSES AND BARRE                365         (8,419)
2015 - PY2015   CARP.      SHOWHORSES AND BARREL RACING        300         (8,309)
2016 - PY2016   CARP.      SHOWHORSES AND BARREL RACING        150         (8,832)
2015 - PY2015   CAS.       LANDSCAPING                      17,545            432
2016 - PY2016   CAS.       LANDSCAPING                      23,420            426
2013 - PY2013   CHA.       LOUNGE                           74,511        (57,076)
2014 - PY2014   CHA.       LOUNGE                           76,194        (36,781)
2015 - PY2015   CHA.       LOUNGE                          110,655          2,089
2016 - PY2016   CHA.       LOUNGE                              -             (669)
2016 - PY2016   CHA.       TATTOO PARLOR                    47,607         13,039
2016 - PY2016   CHA.       TATTOO PARLOR                    43,679         12,636
2014 - PY2014   CHI.       LAWN CARE                        17,108         (2,115)
2015 - PY2015   CHI.       LAWN CARE                         8,768         (6,177)
2014 - PY2014   CHIA.      INSTALLATION                     17,740          6,525
2015 - PY2015   CHIA.      INSTALLATION                     19,530          7,078
2016 - PY2016   CHIA.      INSTALLATION                     11,253          7,198
2013 - PY2013   CL.                                         26,898         12,195
2013 - PY2013   CO.        SECURITY                            672            672
2014 - PY2014   COU.       COMMERCIAL FISHERMAN            490,110        100,777
2015 - PY2015   COU.       COMMERCIAL FISHERMAN            190,615         35,399
2013 - PY2013   COUV.      REFRIGERATION                    53,280         31,869
2014 - PY2014   COUV.      A/C HELPER                       12,265          2,257
2014 - PY2014   COUV.      REFRIGERATION                    43,670         23,964
2015 - PY2015   COUV.      A/C HELPER                        9,820          2,459
2015 - PY2015   COUV.      REFRIGERATION                    31,135         18,250
2014 - PY2014   CO*        SECURITY DETAIL                  15,640          7,733
2015 - PY2015   CO*        REAL ESTATE                       1,272            (13)
2015 - PY2015   CO*        SECURITY DETAIL                   6,446          3,021
2013 - PY2013   CR.        BOAT RENTAL                      11,975            470
2014 - PY2014   CR.        BOAT RENTAL                      40,979         (8,093)
2015 - PY2015   CR.        CHARTER FISHING                  52,645         (9,419)
2016 - PY2016   CR.        CHARTER FISHING                  26,217        (14,824)
2014 - PY2014   CRO.       CONSTRUCTION                        968            968
2013 - PY2013   CU.        ENTERTAINMENT                    12,850         11,835
2013 - PY2013   CU.        SEAFOOD SALES                     3,000          3,000
2014 - PY2014   CU.        ENTERTAINMENT                     7,375          6,723
2014 - PY2014   CU.        SEAFOOD SALES                     4,100          4,100
2015 - PY2015   CU.        ENTERTAINMENT                     8,535          8,112
2015 - PY2015   CU.        SEAFOOD SALES                     5,000          5,000
2016 - PY2016   CU.        ENTERTAINMENT                    13,600         13,280
2015 - PY2015   D. BE.     PLUMBING                          4,980            359
2015 - PY2015   D. BO.     MARKETING                           693            363
2013 - PY2013   D. BR.     PHYSICIAN                        28,904         11,815
2014 - PY2014   D. BR.     PHYSICIAN                        18,432          4,954
2015 - PY2015   D. BR.     PHYSICIAN                        15,560          3,588
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 9 of 38


2013 - PY2013   D. BRO.    PAINTER                           4,675           4,675
2014 - PY2014   D. BRO.    PAINTER                           8,579           3,195
2015 - PY2015   D. BRO.    PAINTER                           3,950           1,257
2016 - PY2016   D. BRO.    PAINTER                           4,650           1,211
2014 - PY2014   D. BU*     INSURANCE ADJUSTOR               76,651          60,943
2015 - PY2015   D. BU*     INSURANCE ADJUSTOR               63,954          44,266
2016 - PY2016   D. BU*     CONSTRUCTION                      4,078           1,266
2016 - PY2016   D. BU*     INSURANCE ADJUSTOR               55,324          30,251
2016 - PY2016   D. BU*     NAIL TECH                        16,125          12,245
2016 - PY2016   D. BU*     NAIL TECH                        19,392          12,074
2014 - PY2014   D. CA.     FLOORING                         10,997          (1,731)
2015 - PY2015   D. FO.     BAIL BONDING                     16,845          (8,117)
2016 - PY2016   D. FO.     BAIL BONDING                     81,200          12,313
2015 - PY2015   D. JO.     BAIL BONDING                      7,477           4,070
2013 - PY2013   D JR       COURIER / DISTRIBUTI             16,066           1,613
2014 - PY2014   D JR       COURIER / DISTRIBUTI             15,374             872
2015 - PY2015   D JR       COURIER / DISTRIBUTION           16,704             965
2016 - PY2016   D JR       COURIER / DISTRIBUTION           24,229           4,834
2016 - PY2016   D JR       FINANCIAL ADVISOR                 6,509         (13,389)
2013 - PY2013   D. LO.     INVESTMENT SALES                 14,146           1,426
2013 - PY2013   D. LO.     PUBLIC RELATIONS                 45,537          21,558
2014 - PY2014   D. LO.     INVESTMENT SALES                 22,295           2,004
2014 - PY2014   D. LO.     PUBLIC RELATIONS                 49,870          22,854
2015 - PY2015   D. LO.     INVESTMENT SALES                 54,516           5,539
2015 - PY2015   D. LO.     PUBLIC RELATIONS                 49,845          27,077
2016 - PY2016   D. LO.     INVESTMENT SALES                 57,246          10,045
2016 - PY2016   D. LO.     PUBLIC RELATIONS                 47,594          22,400
2013 - PY2013   D. LOW.    LEGAL ASST                        9,568           3,513
2014 - PY2014   D. LOW.    LEGAL ASST                       34,410           2,772
2015 - PY2015   D. LOW.    LEGAL ASST                       12,285           2,434
2013 - PY2013   D. MA.     BAR & LOUNGE                    114,813            (327)
2014 - PY2014   D. MO.     PARALEGAL                         9,419           1,789
2015 - PY2015   D. MO.     PARALEGAL                           950
2016 - PY2016   D. MO.     PARALEGAL                           225          (4,747)
2016 - PY2016   D. NE.     INSURANCE ADJUSTER               58,299          17,637
2016 - PY2016   D. PE.     UBER DRIVER                       1,014             333
2013 - PY2013   D. RO.     SECURITY                          6,095           2,712
2014 - PY2014   D. RO.     SECURITY                         13,478           5,071
2015 - PY2015   D. RO.     SECURITY                         13,238           7,418
2016 - PY2016   D. RO.     SECURITY                         11,670           6,253
2013 - PY2013   D. WI.     TECHNICIAN SERVICES             123,508          45,333
2013 - PY2013   DA.        FISHERMAN                         1,297         (14,359)
2014 - PY2014   DA.        FISHERMAN                         3,023         (14,425)
2015 - PY2015   DA.        FISHERMAN                         3,120         (15,988)
2016 - PY2016   DA.        FISHERMAN                           617         (16,481)
2015 - PY2015   DI.        AUTO DETAIL : SERVICE           119,620          24,082
2015 - PY2015   DI.        SALES                             3,400           2,245
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 10 of 38


2016 - PY2016   DIC.        CREWBOAT CAPTAIN                 7,375           1,413
2013 - PY2013   DICK.       BOAT CAPTAIN                     8,050             646
2015 - PY2015   DO.         MEDIATION                       10,765          (7,261)
2015 - PY2015   DO.         NUTRITION SALES                  3,550           3,550
2016 - PY2016   DO.         MEDIATION                       11,135            (655)
2016 - PY2016   DO.         NUTRITION SALES                 45,750          32,269
2013 - PY2013   DOI.        ELECTRICIAN                      3,986           2,165
2014 - PY2014   DOI.        ELECTRICIAN                      1,457              45
2013 - PY2013   DOU.        HOME HEALTH                    798,891          27,680
2014 - PY2014   DOU.        HOME HEALTH                    942,475          21,181
2015 - PY2015   DOU.        HOME HEALTH                    888,158          21,224
2016 - PY2016   DOU.        HOME HEALTH                    907,753          21,515
2014 - PY2014   DR.         MANICURIST                      48,010          13,409
2014 - PY2014   DR.         SOUND ENTERTAINMENT             12,700           1,882
2015 - PY2015   DR.         MANICURIST                      28,749          14,467
2016 - PY2016   DR.         MANICURIST                      24,293          11,043
2013 - PY2013   DUF.        BEAUTY SALON                    26,559           3,199
2014 - PY2014   DUF.        BEAUTY SALON                    32,422           2,677
2015 - PY2015   DUF.        BEAUTY SALON                    29,699           3,770
2016 - PY2016   DUF.        BEAUTY SALON                    34,453           3,635
2016 - PY2016   DUF.        SNOWBALL STAND & SWEET SHOP       (328)        (12,473)
2013 - PY2013   DUP.        RENOVATIONS                    371,912          26,767
2014 - PY2014   DUP.        RENOVATIONS                    266,656          29,405
2015 - PY2015   DUP.        RENOVATIONS                    268,308          27,967
2013 - PY2013   DUPR.       TRAWLING                        17,746          (8,725)
2014 - PY2014   DUPR.       TRAWLING                         7,612             257
2015 - PY2015   DUPR.       TRAWLING                        19,233             182
2016 - PY2016   DUPR.       TRAWLING                         4,947          (6,479)
2013 - PY2013   E. AZ.      TUTOR                            3,780           1,930
2013 - PY2013   E. BE.      FLOOR INSTALLATION             132,043          21,422
2014 - PY2014   E. BE.      FLOOR INSTALLATION             114,728          22,410
2015 - PY2015   E. BE.      FLOOR INSTALLATION              57,018          17,636
2016 - PY2016   E. BE.                                      48,831          11,254
2013 - PY2013   E. BO.      FIRE INSPECTION                  4,800            (306)
2014 - PY2014   E. BO.      FIRE INSPECTION                  4,800             886
2015 - PY2015   E. BO.      FIRE INSPECTION                  4,800             985
2016 - PY2016   E. BO.      FIRE INSPECTION                  4,800             948
2015 - PY2015   E. BOU.     DANCE INSTRUCTOR                11,250          10,083
2013 - PY2013   E BURDETT   ATTORNEY                        74,799          23,843
2014 - PY2014   E BURDETT   ATTORNEY                        98,955          25,695
2015 - PY2015   E BURDETT   ATTORNEY                        88,188          24,792
2016 - PY2016   E BURDETT   ATTORNEY                       134,722          28,116
2014 - PY2014   E. CH.      COMMERCIAL FISHERMAN               300         (14,241)
2015 - PY2015   E. CH.      COMMERCIAL FISHERMAN               650         (12,994)
2015 - PY2015   E. CH.      SECURITY DETAIL                  2,385           1,200
2016 - PY2016   E. CH.      COMMERCIAL FISHERMAN               985          (7,134)
2016 - PY2016   E. CH.      SECURITY DETAIL                  4,355           1,420
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 11 of 38


2014 - PY2014   E. CO.     FOOD SERVICE SALES               11,078             955
2014 - PY2014   E. CO*     EMT                               1,400           1,175
2016 - PY2016   E. CO*     CANTOR                            3,540             158
2014 - PY2014   E. ER.     SEASONAL TRAWLING                12,869         (13,334)
2015 - PY2015   E. ER.     SEASONAL TRAWLING                31,946         (13,193)
2016 - PY2016   E. ER.     SEASONAL TRAWLING                 3,244         (17,028)
2014 - PY2014   E. FO.     HAIR STYLIST                     14,830             422
2015 - PY2015   E. FO.     HAIR STYLIST                     21,846             431
2013 - PY2013   E. FR.     MAINTENANCE                       6,812           2,597
2015 - PY2015   E. FR.     CONSTRUCTION                      6,845           2,017
2014 - PY2014   E. GR.     BEAUTY SALON                     27,000           2,320
2015 - PY2015   E. GR.     BEAUTY SALON                     25,830          10,926
2013 - PY2013   E. HU.     APPAREL SALES                    (1,442)         (1,802)
2013 - PY2013   E. HY.     DRINKING PLACE                   33,698            (443)
2013 - PY2013   E. HY.     DRINKING PLACE #2                82,933             871
2015 - PY2015   E. HY.     DRINKING PLACE                    7,079           3,293
2015 - PY2015   E. HY.     DRINKING PLACE #2                60,924             267
2015 - PY2015   E. HY.     DRINKING PLACE #2                63,428          (2,863)
2016 - PY2016   E. HY.     DRINKING PLACE #2                41,501             829
2016 - PY2016   E II       POLICE DETAIL                     1,200           1,200
2013 - PY2013   E JR       CONSTRUCTION                      8,028           3,770
2013 - PY2013   E JR       COSMETICS                           776          (2,286)
2014 - PY2014   E JR       CONSTRUCTION                     15,106           2,317
2014 - PY2014   E JR       FOOD SERVICE                        615             123
2015 - PY2015   E JR       FOOD SERVICE                        685             559
2015 - PY2015   E JR       GRAPHIC DESIGN                   15,263           5,246
2015 - PY2015   E JR       HEALTH PRODUCT SALES              1,022             582
2015 - PY2015   E JR       LAWN CARE                        13,231             758
2015 - PY2015   E JR       MAINTENANCE                         905             905
2016 - PY2016   E JR       GRAPHIC DESIGN                   13,382           3,064
2016 - PY2016   E JR       LAWN CARE                        16,500             153
2014 - PY2014   E. LA.     DANCE INSTRUCTOR                 12,300          10,975
2015 - PY2015   E. MA.     MAINTENANCE                         692             692
2016 - PY2016   E. ME.     TRUCKING : HAULING               71,318         (24,269)
2015 - PY2015   E. PL.     SALES                             4,800             300
2013 - PY2013   E. SM.     TRIM CARPENTER                   22,750          17,575
2013 - PY2013   E. SM.     TRUCKING                        215,309           3,777
2014 - PY2014   E. SM.     TRIM CARPENTER                   21,330          16,206
2014 - PY2014   E. SM.     TRUCKING                        549,749          12,820
2015 - PY2015   E. SM.     TRIM CARPENTER                   17,430          12,334
2015 - PY2015   E. SM.     TRUCKING                        516,979          14,043
2016 - PY2016   E. SM.     TRIM CARPENTER                   18,990          12,231
2015 - PY2015   E SR       HEALTH AND BEAUTY AIDS           (7,522)         (7,522)
2016 - PY2016   E SR       CONSTRUCTION                    138,772             815
2016 - PY2016   E SR       CONSTRUCTION                    138,722             815
2013 - PY2013   E. TH.     COMMERCIAL FISHING                  300         (11,366)
2013 - PY2013   E. TH.     INSPECTIONS                      29,090           4,309
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 12 of 38


2014 - PY2014   E. TH.     COMMERCIAL FISHING                 425          (15,771)
2015 - PY2015   E. TH.     COMMERCIAL FISHING,                             (24,605)
2015 - PY2015   E. TH.     CONSULTING                          702             702
2016 - PY2016   E. TH.     CONSULTING                        1,612             112
2013 - PY2013   E. TI.     LAWN CARE                         9,285          (1,664)
2014 - PY2014   E. TI.     LAWN CARE                         9,320             189
2016 - PY2016   F JR       HUNTING GUIDE SERVICE             1,200          (9,724)
2013 - PY2013   F. KR.     HEALTH FITNESS SALES             34,624           2,639
2014 - PY2014   F. KR.     COLLISION SALES                  16,873          12,606
2014 - PY2014   F. KR.     HEALTH FITNESS SALES             14,281          (1,748)
2015 - PY2015   F. KR.     ENERGY SALES                      9,200           4,060
2015 - PY2015   F. KR.     HEALTH FITNESS SALES              1,368           1,368
2015 - PY2015   F. KR.     INSURANCE SALES                   3,750            (909)
2016 - PY2016   F. KR.     INSURANCE SALES                   5,902          (6,225)
2013 - PY2013   F. LI.     RESTAURANT                       27,624         (47,607)
2014 - PY2014   F. LI.     RESTAURANT                          -            (7,107)
2015 - PY2015   F. LI.     RESTAURANT                                       (5,804)
2016 - PY2016   F. LI.     RESTAURANT                                       (5,154)
2013 - PY2013   F. PO.     NEWSPAPER DELIVERY               12,000           1,199
2014 - PY2014   F. PO.     NEWSPAPER DELIVERY               12,000           1,673
2015 - PY2015   F. PO.     CLERICAL                          2,380           1,380
2015 - PY2015   F. PO.     NEWSPAPER DELIVERY               12,321           1,750
2016 - PY2016   F. PO.     NEWSPAPER DELIVERY               15,136           2,198
2014 - PY2014   FAL.       SECURITY DETAIL                   5,153           2,109
2015 - PY2015   FAL.       SECURITY DETAIL                   8,713           3,013
2016 - PY2016   FAL.       SECURITY DETAIL                   5,915           2,020
2013 - PY2013   FAU.       SEWING MACHINE REPAI             15,048          13,480
2014 - PY2014   FAU.       SEWING MACHINE REPAI             15,383          14,044
2015 - PY2015   FAU.       SEWING MACHINE REPAIRS           16,872          14,493
2016 - PY2016   FAU.       SEWING MACHINE REPAIRS           13,981           9,509
2013 - PY2013   FAUL.      MEDICAL SALES                    77,018          17,427
2014 - PY2014   FAUL.      MEDICAL SALES                    52,323          20,851
2015 - PY2015   FAUL.      MEDICAL SALES                    51,386          21,293
2016 - PY2016   FAUL.      MEDICAL SALES                    43,387          12,454
2016 - PY2016   FE.        INSTALLER                         1,764             329
2015 - PY2015   FO.        SECURITY DETAIL                   7,248           3,323
2013 - PY2013   G. DE.     PRE SCHOOL                       16,215             581
2016 - PY2016   G. DO.     HOUSEKEEPING: OFFICE CLEANING     2,880             530
2013 - PY2013   G. FI.     MAINTENANCE                     186,263          18,417
2014 - PY2014   G. FI.     MAINTENANCE                     193,919          (2,523)
2015 - PY2015   G. FI.     MAINTENANCE                     175,710          (2,968)
2016 - PY2016   G. FI.     MAINTENANCE                     151,967           3,342
2013 - PY2013   G. FLY.    SALES                            19,590           8,895
2014 - PY2014   G. FLY.    SALES                            13,904           6,404
2015 - PY2015   G. FLY.    SALES                             4,810           1,685
2013 - PY2013   G. GA.     PAINTER                           3,225           3,225
2014 - PY2014   G. GU.     BOAT RENTAL                      41,600            (550)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 13 of 38


2015 - PY2015   G. GU.     BOAT RENTAL                                              (6,795)
2015 - PY2015   G III      HEALTH AND WELLNESS NUTRITION SALES3,423                    343
2016 - PY2016   G III      HEALTH AND WELLNESS NUTRITION SALES 311                  (4,773)
2014 - PY2014   G. KO.     MAINTENANCE                          1,436                  756
2016 - PY2016   G. KO.     FIRE TRAINING                        3,344                1,219
2016 - PY2016   G. MO.                                         87,024                  350
2016 - PY2016   G. MO.     LAWN SERVICES                       89,330              10,451
2016 - PY2016   G. MO.     LAWN SERVICES                       84,808              10,294
2015 - PY2015   G. SC.     BARTENDER                           12,000              12,000
2016 - PY2016   G. SC.     BARTENDER                           12,000                9,313
2013 - PY2013   G SR       COFFEE SALES                           250               (2,174)
2014 - PY2014   G SR       COFFEE SALES                           -                 (1,339)
2015 - PY2015   G SR       COFFEE SALES                                             (1,339)
2016 - PY2016   G SR       COFFEE SALES                                             (1,339)
2013 - PY2013   G. TO.     COMMERCIAL FISHERMAN                 2,250               (4,551)
2014 - PY2014   G. TO.     COMMERCIAL FISHERMAN                 3,885                  538
2015 - PY2015   G. TO.     COMMERCIAL FISHERMAN                 7,779                   77
2015 - PY2015   G. WI.     MASSAGE THERAPIST                    2,292                 (418)
2013 - PY2013   GA.        DECKHAND                             4,000                  798
2015 - PY2015   GAN.       AUTOMOTIVE SALES                    47,960              11,506
2015 - PY2015   GAN.       AUTOMOTIVE SALES                    45,430                9,174
2015 - PY2015   GAN.       TRUCKING                            58,680                2,798
2015 - PY2015   GAN.       TRUCKING                            70,831               (4,375)
2015 - PY2015   GAS.       CLERICAL                             1,100                  556
2014 - PY2014   GO.                                            49,914              17,144
2014 - PY2014   GO.        TRAWLING, CHARTER FISHING, CONSTRUCTION
                                                        8357, 38855, 5825
                                                                      - FENCI
                                                                        3471, 14073, 4395
2016 - PY2016   GO.        CHARTER FISHING                     34,605              13,185
2016 - PY2016   GO.        TRAWLING                            26,000                3,506
2013 - PY2013   GOR.       CONSULTING                          12,478                4,255
2013 - PY2013   GOR.       SECURITY DETAIL                      5,513                3,043
2014 - PY2014   GOR.       SECURITY DETAIL                      5,840               (2,466)
2015 - PY2015   GOR.       SECURITY DETAIL                      3,950                  776
2016 - PY2016   GOR.       SECURITY DETAIL                      8,623                1,306
2013 - PY2013   GR.                                             8,590                1,501
2013 - PY2013   GR.                                             7,496                1,306
2013 - PY2013   GRO.       DECKHAND                             1,909                  255
2013 - PY2013   GRO.       MAINTENANCE                          3,754                  171
2014 - PY2014   GRO.       MAINTENANCE                          4,821                  358
2015 - PY2015   GRO.       DECKHAND                             1,228                1,228
2015 - PY2015   GRO.       MAINTENANCE                          2,631                1,851
2013 - PY2013   GU.        RESTAURANT COOK                      5,500                5,500
2013 - PY2013   GU.        SCHOOL BUS OPERATOR                 40,721              27,442
2014 - PY2014   GU.        SCHOOL BUS OPERATOR                 45,089              33,254
2015 - PY2015   GU.        SCHOOL BUS OPERATOR                 33,857              21,927
2013 - PY2013   H. BR.     STUNT WORK                             720                  720
2014 - PY2014   H. BR.     SECURITY DETAIL                      2,773                1,938
2013 - PY2013   H. CO.     RESTAURANT & LOUNGE                617,891              27,461
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 14 of 38


2013 - PY2013   H. CO.     TRAVEL AGENT                      7,565          (6,720)
2016 - PY2016   H. GR.     OVERROAD LEASING & HAULING       71,436             370
2015 - PY2015   H. GU.     CONSULTANT                        1,281
2013 - PY2013   H. HA.     CLAIMS ADJUSTOR                  65,101          23,940
2014 - PY2014   H. HA.     CLAIMS ADJUSTOR                  68,312          15,987
2015 - PY2015   H. HA.     CARPET CLEANING                  35,827           8,581
2015 - PY2015   H. HA.     CLAIMS ADJUSTOR                  35,285          10,516
2016 - PY2016   H. HA.     CARPET CLEANING                  33,956          (1,133)
2016 - PY2016   H. HA.     CARPET CLEANING                  33,956          (1,133)
2016 - PY2016   H. HA.     CLAIMS ADJUSTOR                  26,854             396
2016 - PY2016   H. HA.     CLAIMS ADJUSTOR                  26,854             396
2013 - PY2013   H. HE.     HAIR STYLIST                     27,061          17,302
2014 - PY2014   H. HE.     HAIR STYLIST                     27,469          15,811
2015 - PY2015   H. HE.     HAIR STYLIST                     28,335          16,095
2016 - PY2016   H. HE.     HAIR STYLIST                     29,248          18,838
2013 - PY2013   H JR       TRANSPORTATION                   27,602            (731)
2014 - PY2014   H JR       TRANSPORTATION                   39,287          (1,422)
2015 - PY2015   H JR       TRANSPORTATION                   32,210          (1,904)
2016 - PY2016   H JR       TRANSPORTATION                   54,950           4,129
2013 - PY2013   H. LA.     SEAFOOD PROCESSING              867,596          40,437
2014 - PY2014   H. LA.     SEAFOOD PROCESSING              162,269           3,374
2015 - PY2015   H. LA.     SEAFOOD PROCESSING                  -           (21,866)
2016 - PY2016   H. LA.      SEAFOOD PROCESSING                 -           (15,619)
2016 - PY2016   H. LA.     APARTMENT COMPLEX               121,310         (23,078)
2013 - PY2013   H. QU.     FIREFIGHTER                       1,913           1,373
2015 - PY2015   H. RH.     SOCIAL SECURITY : CLERK          12,630           8,646
2016 - PY2016   H. RH.     SOCIAL SECURITY : CLERK           8,630             429
2014 - PY2014   H. SA.     SECURITY DETAIL                   1,840             970
2015 - PY2015   H. SA.     SECURITY DETAIL                   1,840           1,840
2015 - PY2015   H. SC.     DISPOSAL SERVICE                  7,920          (8,267)
2016 - PY2016   H. SC.     DISPOSAL SERVICE                 70,170          20,029
2014 - PY2014   H SR       LOTTERY COMMISSION                4,666
2014 - PY2014   H SR       RESTAURANT & LOUNGE, ,          572,917          60,634
2014 - PY2014   H SR       TRAVEL AGENT                      9,162
2016 - PY2016   H SR       RESTAURANT & LOUNGE             645,587          43,791
2016 - PY2016   H SR       TRAVEL AGENT                      8,724          (2,490)
2016 - PY2016   HA.        RESTAURANT                       26,011             432
2016 - PY2016   HA.        RESTAURANT                       26,011             432
2016 - PY2016   HAR.       COMMUNICATIONS CONTRACTOR        24,687           8,763
2013 - PY2013   HAW.       WRECKER DRIVER                    2,458          (3,595)
2016 - PY2016   HAY.       LIMOUSINE DRIVER                  3,029           3,029
2014 - PY2014   HE.        INTERIOR DECORATOR                5,334             424
2015 - PY2015   HE.        INTERIOR DECORATOR               10,595             431
2016 - PY2016   HE.        INTERIOR DECORATOR               13,892             427
2013 - PY2013   HER.                                           644             644
2015 - PY2015   HER.       JEWELERY SALES                    3,831            (753)
2016 - PY2016   HER.       BARBER SHOP                      15,975          (1,359)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 15 of 38


2016 - PY2016   HI.        REAL ESTATE - REALTOR              26,259             2,464
2013 - PY2013   HIN.       SALES                               1,068             1,068
2013 - PY2013   HO.        CRAB FISHERMAN                     92,817             6,826
2016 - PY2016   I. A.      FIREARM TRAINING                      840               510
2016 - PY2016   I. A.      SECURITY DETAIL                       720               200
2015 - PY2015   III        CONSTRUCTION                      109,235            12,206
2015 - PY2015   III        CONSTRUCTION                      102,580            12,730
2015 - PY2015   III        FLOORING                           35,770            14,664
2016 - PY2016   III        CONSTRUCTION : COMMERCIAL / RESIDENTIAL
                                                             113,945GLASS INSTALLATION
                                                                                11,073
2016 - PY2016   III        TRUCKING : HAULING                 93,025            44,322
2013 - PY2013   IV         FLOORING                          107,099            19,232
2014 - PY2014   IV         FLOORING                          110,110            20,237
2015 - PY2015   IV         FLOORING                          119,427            22,966
2016 - PY2016   IV         FLOORING                          120,112            22,253
2016 - PY2016   IV         VITAMIN SUPPLEMENTS                   283               283
2013 - PY2013   J. AC.     PLUMBING CONTRACTOR                51,892            16,175
2014 - PY2014   J. AC.     PLUMBING CONTRACTOR                29,883            10,197
2015 - PY2015   J. AC.     PLUMBING CONTRACTOR               216,221            20,105
2016 - PY2016   J. AC.     PLUMBING CONTRACTOR               461,989            22,837
2013 - PY2013   J. AL.     LAWNCARE                            4,672            (1,487)
2014 - PY2014   J. AL.     LAWNCARE                            6,695            (8,290)
2015 - PY2015   J. AL.     LAWNCARE                            6,220             1,004
2016 - PY2016   J. AL.     LAWNCARE                            2,610            (2,534)
2014 - PY2014   J. ALL.    SAFETY PARAMEDIC                   29,183             8,338
2015 - PY2015   J. ALV.    LOCKSMITH                          24,000            19,729
2016 - PY2016   J. ALV.    LOCKSMITH                          60,000            28,384
2013 - PY2013   J. ALVA.   DELIVERY                            1,260               908
2016 - PY2016   J, ALVA.   DELIVERY                              680               680
2013 - PY2013   J. AP.     REFEREE                             3,677               678
2014 - PY2014   J. AP.     REFEREE                             2,765               271
2015 - PY2015   J. AP.     REFEREE                             2,175              (394)
2016 - PY2016   J. AP.     REFEREE                             1,110              (491)
2013 - PY2013   J. AR.     A/C CONTRACTOR                     21,460            17,982
2013 - PY2013   J. BO.     SALES                               1,225               605
2013 - PY2013   J. BOU.    AC TECH                             6,430              (759)
2016 - PY2016   J. BOU.    DANCE INSTRUCTOR                   13,232               147
2016 - PY2016   J. BOU.    GYM ( TUMBLING) INSTRUCTOR         18,800              (288)
2013 - PY2013   J. BR.     SECURITY DETAIL                     2,415             1,829
2016 - PY2016   J. BRA.    HEALTH CARE SALES                   2,199            (4,004)
2015 - PY2015   J. BRO.    IT SUPPORT / SOFTWARE ENGINEER     19,400             9,284
2016 - PY2016   J. BRO.    IT SUPPORT / SOFTWARE ENGINEER      6,675               884
2013 - PY2013   J. BROU.   PHOTOGRAPHY                         3,828            (4,585)
2014 - PY2014   J. BROU.   PHOTOGRAPHY                        (1,877)           (6,193)
2015 - PY2015   J. BROU.   PHOTOGRAPHY                          (453)           (3,281)
2016 - PY2016   J. BROU.   PHOTOGRAPHY                         9,659            (1,884)
2013 - PY2013   J. BROW.                                     498,952            11,346
2013 - PY2013   J. BROW.   BUSINESS MANAGER CON               20,800            20,800
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 16 of 38


2013 - PY2013   J. BROW.   CONSTRUCTION SERVICE              985,614         7,444
2015 - PY2015   J. BROW.   BUSINESS MANAGER CON               18,230         9,850
2015 - PY2015   J. BROW.   CONSTRUCTION SERVICE            1,383,967        62,035
2013 - PY2013   J. BU.     HOUSEKEEPING                        5,500         5,000
2013 - PY2013   J. CA.     TOURNAMENT FISHING                  2,944        (8,076)
2014 - PY2014   J. CA.     TOURNAMENT FISHING                  3,919        (8,453)
2015 - PY2015   J. CA.     TOURNAMENT FISHING                  1,125       (12,769)
2016 - PY2016   J. CA.     TOURNAMENT FISHING                  1,800       (14,396)
2014 - PY2014   J. CL.     COMMERCIAL FISHING                 14,380       (17,235)
2015 - PY2015   J. CL.     COMMERCIAL FISHING                               (3,000)
2016 - PY2016   J. CL.     COMMERCIAL FISHING                               (2,143)
2014 - PY2014   J. CO.     SECURITY DETAIL                     4,555         1,160
2015 - PY2015   J. CO.     FIREARMS TRAINING AND SECURITY CONSULTANT
                                                                 900           149
2016 - PY2016   J. CO.     FIREARMS TRAINING AND SECURITY CONSULTANT          (959)
2013 - PY2013   J. DA.     FISHING GUIDE SERVIC                4,003       (18,236)
2014 - PY2014   J. DA.     FISHING GUIDE SERVIC               13,215       (13,998)
2015 - PY2015   J. DA.     FISHING GUIDE SERVICE              19,717       (10,313)
2016 - PY2016   J. DA.     FISHING GUIDE SERVICE              14,450       (18,104)
2013 - PY2013   J. DE.     CARPENTRY / SERVICE                20,213         4,938
2014 - PY2014   J. DE.     CARPENTRY / SERVICE                64,403        21,599
2015 - PY2015   J. DE.     CARPENTRY / SERVICE                59,536        15,156
2016 - PY2016   J. DE.     CARPENTRY / SERVICE                52,584        12,839
2013 - PY2013   J. DES.    TRUCK DRIVER                       40,043         4,505
2015 - PY2015   J. DOR.    SECURITY                            9,992           792
2016 - PY2016   J. DOR.    SECURITY                            1,538        (5,228)
2014 - PY2014   J. DR.     INSURANCE SALES                     6,154        (2,361)
2015 - PY2015   J. DR.     INSURANCE SALES                     4,934        (1,176)
2016 - PY2016   J. DR.     INSURANCE SALES                     2,609        (8,103)
2014 - PY2014   J. EV.     HOME HEALTH                         8,100         8,100
2014 - PY2014   J. FA.     TRUCKING                          123,992         6,039
2013 - PY2013   J. FI.     MAINTENANCE                         3,200         1,124
2014 - PY2014   J. FI.     MAINTENANCE                         1,459           476
2015 - PY2015   J. FI.     SALES                               2,576          (231)
2016 - PY2016   J. FI.     SALES                              (2,735)       (7,640)
2014 - PY2014   J. FO.     CRAFT SALES                        (1,911)       (3,141)
2015 - PY2015   J. FO.     CRAFT SALES                          (721)         (721)
2016 - PY2016   J. FO.     CRAFT SALES                           100        (1,665)
2015 - PY2015   J. FOR.    LAWNCARE                            7,965           595
2016 - PY2016   J. FOR.    LAWNCARE                            5,900           906
2016 - PY2016   J. FOT.                                       30,347        22,378
2013 - PY2013   J. GA.     AUTOMOTIVE REPAIR                   8,680         1,840
2016 - PY2016   J. GL.     CONSTRUCTION                        1,144        (6,042)
2014 - PY2014   J. GU.     CONSTRUCTION / FENCE               29,910        16,500
2015 - PY2015   J. GU.     CONSTRUCTION / FENCE INSTALLATION 36,110         11,268
2016 - PY2016   J. GU.     CONSTRUCTION / FENCE INSTALLATION 38,242         11,722
2013 - PY2013   J. GUI.    MAINTENANCE                         2,184         2,184
2013 - PY2013   J. HA.                                         5,825       (14,805)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 17 of 38


2015 - PY2015   J. HE.     MUSICIAN                          1,920          (4,330)
2013 - PY2013   J. HER.    LANDSCAPING                      64,757          16,528
2014 - PY2014   J. HER.    LANDSCAPING                      69,329           6,264
2016 - PY2016   J. HER.    LANDSCAPING                      84,176             372
2013 - PY2013   J III      CONSTRUCTION                     59,977            (769)
2013 - PY2013   J III      CONSTRUCTION - FLOOR             32,736          19,627
2013 - PY2013   J III      HANDYMAN                         28,746           1,023
2013 - PY2013   J III      SALES                            22,775          20,625
2013 - PY2013   J III      SECURITY DETAIL                   7,194           5,898
2014 - PY2014   J III      SALES                            21,840          19,435
2014 - PY2014   J III      SECURITY DETAIL                   5,913           3,684
2015 - PY2015   J III      SALES                            19,265          16,951
2015 - PY2015   J III      SECURITY DETAIL                   5,738           2,216
2016 - PY2016   J III      CONSTRUCTION                    198,802         (18,224)
2016 - PY2016   J III      CONSTRUCTION                    198,802         (18,224)
2016 - PY2016   J III      SALES                            17,850          15,718
2016 - PY2016   J III      SECURITY DETAIL                   7,913           2,264
2013 - PY2013   J IV       SECURITY DETAIL                   4,530           2,880
2014 - PY2014   J IV       SECURITY DETAIL                   8,265           2,429
2015 - PY2015   J IV       SECURITY DETAIL                   5,783           2,293
2016 - PY2016   J IV       CONSTRUCTION : CONTRACTOR       115,067          21,091
2016 - PY2016   J IV       CONSTRUCTION : CONTRACTOR       115,067          21,091
2016 - PY2016   J IV       SECURITY DETAIL                  12,540           2,076
2013 - PY2013   J JR       ABSTRACTOR                       42,826           3,374
2013 - PY2013   J JR       CONSTRUCTION                      5,216          (3,237)
2013 - PY2013   J JR       COSMETIC SALES                      190          (2,811)
2013 - PY2013   J JR       FISHERMAN                        15,091          (8,404)
2013 - PY2013   J JR       RENTAL                           24,000          (7,223)
2013 - PY2013   J JR       SALES                             8,260           1,817
2013 - PY2013   J JR       SALES                               708         (11,202)
2014 - PY2014   J JR       ABSTRACTOR                       30,841           2,815
2014 - PY2014   J JR       ABSTRACTOR                       34,950           1,240
2014 - PY2014   J JR       COMMERCIAL FISHERMAN                286         (20,123)
2014 - PY2014   J JR       CONSTRUCTION                     11,506           1,871
2014 - PY2014   J JR       FISHERMAN                        35,720           1,053
2014 - PY2014   J JR       LPN                              38,376          15,693
2015 - PY2015   J JR       ABSTRACTOR                       20,271          (2,654)
2015 - PY2015   J JR       COMMERCIAL FISHERMAN              4,353         (13,909)
2015 - PY2015   J JR       CONSTRUCTION                     (2,756)         (8,691)
2015 - PY2015   J JR       FISHERMAN                        28,118           1,695
2015 - PY2015   J JR       LOANS                               650             650
2015 - PY2015   J JR       LPN                               4,502          (2,112)
2015 - PY2015   J JR       SCHOOL BUS OPERATOR              29,684          20,071
2015 - PY2015   J JR       TAXIDERMY                                       (37,859)
2015 - PY2015   J JR       TEACHER                           2,531           1,191
2016 - PY2016   J JR       BARBERSHOP                        6,800          (5,176)
2016 - PY2016   J JR       COMMERCIAL FISHERMAN              2,230         (12,574)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 18 of 38


2016 - PY2016   J JR       FISHERMAN                        16,533             428
2016 - PY2016   J JR       JEWELRY SALES                       446            (138)
2016 - PY2016   J JR       TAXIDERMY                        11,997         (19,772)
2014 - PY2014   J. KI.     SECURITY DETAIL                   5,808           2,996
2014 - PY2014   J. KO.                                      48,141             341
2014 - PY2014   J. KO.                                      38,682             410
2014 - PY2014   J. KO.                                      35,062             428
2014 - PY2014   J. KO.     COMMERCIAL FISHERMAN             31,782             429
2013 - PY2013   J. KR.                                       2,410             810
2016 - PY2016   J. KR.                                       3,000             808
2013 - PY2013   J. LA.     GENERAL AUTO REPAIR             269,436           7,519
2014 - PY2014   J. LA.     GENERAL AUTO REPAIR             229,328           8,681
2015 - PY2015   J. LA.     MAINTENANCE                         653             511
2016 - PY2016   J. LA.     MAINTENANCE                       1,035              77
2013 - PY2013   J. LAN.    INSTRUCTOR                        2,137           1,192
2013 - PY2013   J. LAS.    NETWORKING                          634          (1,951)
2014 - PY2014   J. LAS.    CONSTRUCTION                      3,500           1,596
2016 - PY2016   J. LAS.    FABRICATION                       5,143          (5,466)
2013 - PY2013   J. LEP.    WELDER / FIITER                   5,000           1,341
2014 - PY2014   J. LEP.    WELDER / FIITER                   2,340             428
2013 - PY2013   J. MA.     BEAUTY SHOP                      13,284          (2,134)
2014 - PY2014   J. MA.     BEAUTY SHOP                      12,264          (2,110)
2014 - PY2014   J. MC.     TRUCKDRIVER / DELIVE             42,135             (82)
2014 - PY2014   J. MO.     BAR / MARINA                     59,237          10,992
2015 - PY2015   J. MO.     BAR / MARINA                     33,223          10,889
2016 - PY2016   J. MO.     BAR / MARINA                     34,012          11,081
2014 - PY2014   J. MOR.    MAINTENANCE                         780          (3,837)
2013 - PY2013   J. PE.     FISHERMAN                        49,276           8,908
2014 - PY2014   J. PE.     FISHERMAN                        66,079          11,131
2015 - PY2015   J. PE.     FISHERMAN                        93,346          12,093
2016 - PY2016   J. PE.     FISHERMAN                        44,553           2,245
2013 - PY2013   J. PER.    ASST TEACHER                      3,300             605
2014 - PY2014   J. PER.    ASST TEACHER                      1,900           1,250
2014 - PY2014   J. PL.     OIL SPILL CLEANUP                41,600          (6,400)
2013 - PY2013   J. RA.     CONSTRUCTION                     43,330           7,132
2014 - PY2014   J. RA.     CONSTRUCTION                     55,476           8,040
2015 - PY2015   J. RA.                                      17,185             370
2015 - PY2015   J. RA.     CONSTRUCTION                     17,185             370
2016 - PY2016   J. RA.     CONSTRUCTION                     20,532             403
2016 - PY2016   J. RA*     CONSTRUCTION - FLOORING          13,133          11,024
2013 - PY2013   J. RO.     TRUCKING / DELIVERY             112,461           8,223
2014 - PY2014   J. RO.     TRUCKING / DELIVERY              64,674           7,639
2015 - PY2015   J. RO.     TRUCKING / DELIVERY             115,942           9,252
2016 - PY2016   J. RO.     TRUCKING / DELIVERY              89,024           7,245
2013 - PY2013   J. ROS.    AUTO GLASS INSTALLAT             22,596          11,076
2014 - PY2014   J. ROS.    AUTO GLASS INSTALLAT             23,046          10,693
2015 - PY2015   J. ROS.    AUTO GLASS INSTALLATION          14,054           4,975
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 19 of 38


2014 - PY2014   J. RO*     SECURITY DETAIL                  23,452          11,793
2015 - PY2015   J. RO*     SECURITY DETAIL                  26,112           5,393
2016 - PY2016   J. RO*     SECURITY DETAIL                  29,662           9,022
2013 - PY2013   J. SA.     HOUSEKEEPING                     12,200          12,200
2016 - PY2016   J. SA.     LAWNCARE                          2,694          (1,212)
2013 - PY2013   J. SAP.    MUSICIAN                         14,200           2,026
2013 - PY2013   J. SC.     PLUMBING                          9,406             431
2013 - PY2013   J SR       BOAT CAPTAIN                     39,835          18,013
2013 - PY2013   J SR       BOAT RENTAL                       9,325          (5,809)
2013 - PY2013   J SR       CLEANING SERVICES                 6,900           4,270
2013 - PY2013   J SR       MAINTENANCE                      19,188             431
2013 - PY2013   J SR       SEWING & EMBROIDERY               2,711          (2,769)
2014 - PY2014   J SR       BOAT CAPTAIN                     16,115           6,591
2014 - PY2014   J SR       BOAT RENTAL                      41,600           1,404
2014 - PY2014   J SR       CLEANING SERVICES                 2,100           2,100
2014 - PY2014   J SR       SEWING & EMBROIDERY                 208          (3,569)
2014 - PY2014   J SR       XRAY TECH                         2,000           1,055
2015 - PY2015   J SR       CLEANING SERVICES                 7,950           3,095
2015 - PY2015   J SR       MAINTENANCE                      17,600             429
2015 - PY2015   J SR       MAINTENANCE                      16,900             432
2015 - PY2015   J SR       SEWING & EMBROIDERY               1,913            (730)
2015 - PY2015   J SR       TRUCKING : DUMP TRUCK            70,397         (19,910)
2016 - PY2016   J SR       CLEANING SERVICES                 6,000           2,195
2016 - PY2016   J SR       MAINTENANCE                      19,220          (2,061)
2016 - PY2016   J SR       SEWING & EMBROIDERY               1,201          (1,145)
2016 - PY2016   J SR       TRUCKING : DUMP TRUCK           128,789          15,291
2013 - PY2013   J. ST.     STYLIST                           4,775           2,180
2014 - PY2014   J. ST.     STYLIST                          17,535             657
2015 - PY2015   J. ST.     STYLIST                          24,959           2,616
2016 - PY2016   J. ST.     STYLIST                          18,922           2,975
2013 - PY2013   J. STE.    RESIDENTIAL CONSTRUC            (11,108)        (13,588)
2013 - PY2013   J. TA.     SECURITY DETAIL                   9,915           5,486
2014 - PY2014   J. TA.     SECURITY DETAIL                  11,430           5,459
2015 - PY2015   J. TA.     SECURITY DETAIL                   8,340           5,111
2016 - PY2016   J. TA.     SECURITY DETAIL                   6,743           2,628
2013 - PY2013   J. TAS.    SALES DIRECTOR                   23,032           4,831
2014 - PY2014   J. TAS.    SALES DIRECTOR                   16,172           1,287
2015 - PY2015   J. TAS.    SALES DIRECTOR                   19,780           1,716
2016 - PY2016   J. TAS.    SALES DIRECTOR                    2,959          (1,054)
2016 - PY2016   J. TAS.    SALES DIRECTOR                    2,959          (1,054)
2014 - PY2014   J. TH.                                      50,495          12,257
2014 - PY2014   J. TH.                                      50,495          12,257
2014 - PY2014   J. TH.     CONSTRUCTION                     29,912           5,840
2014 - PY2014   J. TH.     HEALTH FOOD SALES                 4,356          (1,342)
2015 - PY2015   J. TH.     CONSTRUCTION                     53,050          25,493
2016 - PY2016   J. TH.     CONSTRUCTION                     49,410          25,153
2013 - PY2013   J. TO.     ENTERTAINMENT                     3,625          (2,700)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 20 of 38


2013 - PY2013   J. TO.     TEACHER                           1,485             605
2014 - PY2014   J. TO.     ENTERTAINMENT                     1,825          (1,131)
2015 - PY2015   J. TO.     ENTERTAINMENT                     1,075          (1,746)
2015 - PY2015   J. TO.     TEACHER                           2,630             842
2016 - PY2016   J. TO.     ENTERTAINMENT                     1,450             199
2016 - PY2016   J. TO.     TEACHER                           1,672             212
2016 - PY2016   J. TR.     COMPUTER ENGINEERING              3,240             180
2016 - PY2016   J. TRU.    LAWN CARE                           600             215
2013 - PY2013   J. WA.     CONSTRUCTION                      1,270           1,270
2016 - PY2016   J. WE.     CONSTRUCTION MANAGEMENT          30,016          13,232
2016 - PY2016   JA.        DANCE PERFORMER                      85              85
2013 - PY2013   JR         CONSTRUCTION                     76,740          18,366
2013 - PY2013   JR         CONSTRUCTION                     27,461          16,057
2013 - PY2013   JR         CONSTRUCTION                      9,650           4,385
2013 - PY2013   JR         SALES                            10,050           2,083
2014 - PY2014   JR         CONSTRUCTION                     29,999          16,765
2014 - PY2014   JR         CONSTRUCTION                     11,246           5,636
2014 - PY2014   JR         PARTY SALES                       2,192           1,737
2014 - PY2014   JR         PLUMBER                          41,232          20,136
2014 - PY2014   JR         SECURITY DETAIL                  26,240          14,948
2015 - PY2015   JR         CONSTRUCTION                      9,209           6,439
2015 - PY2015   JR         CONSTRUCTION                     13,917           2,717
2015 - PY2015   JR         FOOD SERVICE                      3,269           2,382
2015 - PY2015   JR         PARTY SALES                         160             160
2015 - PY2015   JR         PLUMBER                          72,512          22,721
2015 - PY2015   JR         SECURITY DETAIL                  26,768          18,005
2016 - PY2016   JR         CONSTRUCTION                      8,970           6,970
2016 - PY2016   JR         CONSTRUCTION                     33,000           8,174
2016 - PY2016   JR         FOOD SERVICE                      4,370           3,565
2016 - PY2016   JR         PLUMBER                          70,830          20,600
2016 - PY2016   JR         SECURITY DETAIL                  15,672           5,662
2015 - PY2015   JU.                                          5,790           1,200
2015 - PY2015   JU.                                          3,000           1,353
2015 - PY2015   JU.                                          1,100             925
2015 - PY2015   JU.        PROFESSIONAL FIGHTER              1,100             925
2016 - PY2016   JU.        TRAINER                          13,200             410
2016 - PY2016   K. C.      CONSULTING                       65,096          59,297
2013 - PY2013   K. HU.     BEAUTICIAN                       56,535          14,895
2014 - PY2014   K. HU.     BEAUTICIAN                       55,796          16,478
2014 - PY2014   K. LE.     FOOD SERVICE                      4,850         (16,095)
2015 - PY2015   K. LE.     FOOD SERVICE                     28,100         (16,293)
2013 - PY2013   K. SC.                                       2,276          (2,203)
2013 - PY2013   K SR       CONSTRUCTION                     14,760           8,026
2014 - PY2014   K SR       CONSTRUCTION                     22,955          14,019
2015 - PY2015   K SR       CONSTRUCTION                     29,405          16,649
2016 - PY2016   K SR       CONSTRUCTION                     30,510          12,889
2015 - PY2015   K. TA.     BEAUTICIAN                       51,839          14,250
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 21 of 38


2016 - PY2016   K. TA.     BEAUTICIAN                      51,408            13,646
2015 - PY2015   KE.                                        42,000            36,135
2013 - PY2013   KI.        COLLISION : AUTO BOD            19,910            13,921
2013 - PY2013   KL.        MAINTENANCE                       1,997              277
2014 - PY2014   KR.        MAINTENANCE                       2,646           (1,250)
2013 - PY2013   L. A.      AUTOMOTIVE REPAIR                 5,905              906
2013 - PY2013   L. AR.     BOUNTY HUNTER                     6,565              -
2013 - PY2013   L. AR.     MUSICIAN                        18,100             2,074
2014 - PY2014   L. B.                                      17,050             1,974
2014 - PY2014   L. B.      TRUCK DRIVER                      8,484              318
2016 - PY2016   L. BR.     MAINTENANCE                       5,575            2,987
2013 - PY2013   L. BRO.    CONSTRUCTION                      8,808            7,600
2013 - PY2013   L. BRO.    CONSTRUTION SUPPLIES             (3,922)         (17,034)
2016 - PY2016   L. CU.     MEDICAL CONSULTANT              54,336            43,708
2014 - PY2014   L. DE.     CLERICAL                            636              636
2014 - PY2014   L. DEL.    CONSTRUCTION                      7,740            2,095
2015 - PY2015   L. DEL.    CONSTRUCTION                      9,226            1,232
2013 - PY2013   L. DU.                                     49,332             1,822
2015 - PY2015   L. E.      ELECTRONIC CIGARETTE SALES          197          (10,953)
2016 - PY2016   L. E.      ELECTRONIC CIGARETTE SALES      17,537           (30,319)
2013 - PY2013   L. H.      MAINTENANCE                     16,188            (8,613)
2013 - PY2013   L. H.      TRAINER                           6,308            6,308
2014 - PY2014   L. H.      APPLIANCE REPAIRS               45,694            (2,039)
2015 - PY2015   L. H.      APPLIANCE REPAIRS               72,340             8,290
2016 - PY2016   L. H.      APPLIANCE REPAIRS               78,081            10,237
2013 - PY2013   L. HAY.    ELECTRICIAN                     44,321            18,574
2014 - PY2014   L. HAY.    ELECTRICIAN                     12,869            11,374
2016 - PY2016   L. HAY.    ELECTRICAL / MECHANICAL           3,416              554
2014 - PY2014   L. HO.                                     16,907             2,174
2016 - PY2016   L. HO.     YACHT MANAGEMENT,TRAINING,RECONDITIONING
                                                          124,067   & CAPTAIN11,774
                                                                              SERVICES
2016 - PY2016   L. HO.     YACHT MANAGEMENT,TRAINING,RECONDITIONING
                                                          114,312   & CAPTAIN SERVICES
                                                                              7,862
2015 - PY2015   L. J.      MECHANIC : AUTOMOTIV            59,041             2,551
2016 - PY2016   L. J.      MECHANIC : AUTOMOTIVE          136,569             4,024
2016 - PY2016   L. J.      MECHANIC : AUTOMOTIVE           84,113             2,865
2016 - PY2016   L JR       HEALTHCARE PRODUCTS: VITAMINS     2,080            1,741
2016 - PY2016   L. K.      ADMINISTRATION                  53,250            35,895
2013 - PY2013   L. KI.     AUTO BODY AND POWDER           435,705            14,235
2014 - PY2014   L. KI.     AUTO BODY AND POWDER           560,750            38,446
2015 - PY2015   L. KI.     AUTO BODY AND POWDER COATING   549,250            39,278
2016 - PY2016   L. KI.     AUTO BODY AND POWDER COATING   490,382            40,231
2013 - PY2013   L. L.      DEMOLITION & HAULING           109,943            12,972
2013 - PY2013   L. L.      SECURITY                          4,620            3,077
2014 - PY2014   L. L.      DEMOLITION & HAULING            62,393            (9,126)
2014 - PY2014   L. L.      SECURITY                        12,090             3,054
2015 - PY2015   L. L.      DEMOLITION & HAULING            67,327            (3,178)
2015 - PY2015   L. L.      SECURITY                        15,521             3,911
2016 - PY2016   L. L.      DEMOLITION & HAULING            64,944             1,586
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 22 of 38


2016 - PY2016   L. L.      SECURITY                             7,371                 3,797
2016 - PY2016   L. LA.     JANITORIAL SERVICES                  1,025                 1,025
2016 - PY2016   L. LE.     JANITORIAL                           5,200                 1,128
2013 - PY2013   L. M.      JEWELRY SALES                        1,257               (2,447)
2013 - PY2013   L. MC.     CONTRACT ALUMINUM                    6,172               (4,173)
2013 - PY2013   L. MCE.    CLEANING SERVICE                     5,000                 1,990
2013 - PY2013   L. ME.     DANCE INSTRUCTOR                     1,335               (2,536)
2014 - PY2014   L. ME.     DANCE INSTRUCTOR                     1,850               (1,533)
2015 - PY2015   L. ME.     DANCE INSTRUCTOR                     2,373                   635
2016 - PY2016   L. ME.     DANCE INSTRUCTOR                     2,165                   381
2013 - PY2013   L. MI.     CONSTRUCTION                         2,536               (1,813)
2014 - PY2014   L. MI.     CONSTRUCTION                        10,020               10,020
2016 - PY2016   L. MI.     CONSTRUCTION                        17,113                   805
2015 - PY2015   L. NE.     HEALTHCARE                             640                   160
2014 - PY2014   L. PA.     JANITORIAL                          12,316               12,316
2015 - PY2015   L. PA.     JANITORIAL                          14,253               14,253
2016 - PY2016   L. PA.     JANITORIAL                           2,450               (4,827)
2014 - PY2014   L. PE.     MAINTENANCE                          2,399                   559
2013 - PY2013   L. RA.     HAIR STYLIST                         5,646                   950
2013 - PY2013   L. RA.     PROMOTIONS                           4,840                   598
2014 - PY2014   L. RA.     HAIR STYLIST                        24,823                 2,623
2014 - PY2014   L. RA.     PROMOTIONS                           1,550                   259
2013 - PY2013   L. RO.     OFFICE MANAGER                       6,500                 6,500
2014 - PY2014   L. RO.     OFFICE MANAGER                       3,580                 2,070
2013 - PY2013   L. SA.     CLERICAL                             4,603                 2,468
2015 - PY2015   L. SA.     DOCUMENT CONTROL                    24,000               14,200
2016 - PY2016   L. SA.     DOCUMENT CONTROL                   102,800               61,761
2013 - PY2013   L. ST.     SEAMSTRESS                             600                   480
2014 - PY2014   L. ST.     SEAMSTRESS                             375                  (613)
2015 - PY2015   L. ST.     SEAMSTRESS                             485               (1,397)
2016 - PY2016   L. ST.     SEAMSTRESS                             686                  (753)
2013 - PY2013   L. TH.     SECURITY                             1,080                 1,080
2016 - PY2016   L. WI.     FISHING GUIDE SERVICE                1,578                 1,053
2013 - PY2013   L. WIL.    LANDSCAPING                          2,250               (2,529)
2014 - PY2014   L. WIL.    LANDSCAPING                             -                   (782)
2014 - PY2014   L. WIL.    NURSING                              2,857                   237
2015 - PY2015   L. WIL.    LANDSCAPING                          1,025               (9,568)
2015 - PY2015   L. WIL.    NURSING                              4,562                   747
2016 - PY2016   L. WIL.    DISC JOCKEY, NURSING, LANDSCAPING
                                                        250, 1224, 1185 -2097, -11961
2014 - PY2014   L. WIN.    WAITRESS                            12,380               12,230
2015 - PY2015   L. WIN.    WAITRESS                            12,480               10,825
2016 - PY2016   L. WIN.    WAITRESS                            12,682               11,918
2013 - PY2013   LA.        CONSTRUCTION PROJECT                36,150                 7,004
2014 - PY2014   LA.        CONSTRUCTION PROJECT                37,578                 8,178
2015 - PY2015   LA.        CONSTRUCTION PROJECT MANAGER        32,290                   416
2016 - PY2016   LA.        CONSTRUCTION PROJECT MANAGER        32,197                   421
2013 - PY2013   LAG.       PET GROOMER                         16,737                 2,202
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 23 of 38


2014 - PY2014   LAG.       PET GROOMER                      10,763           1,023
2015 - PY2015   LAG.       PET GROOMER                       3,576           1,346
2013 - PY2013   LAND.      PAINTING AND STUCCO             181,484           1,874
2013 - PY2013   LAND.      BARTENDER                         1,641           1,641
2013 - PY2013   LAND.      DIRECTOR FEES                     6,666           6,666
2014 - PY2014   LAND.      BARTENDER                         1,418           1,418
2014 - PY2014   LAND.      PAINTING AND STUCCO             225,686           1,241
2016 - PY2016   L*         BODY WRAP SALES                     600          (8,122)
2013 - PY2013   Le C.      FLOOR INSTALLATION               30,870          24,826
2014 - PY2014   Le C.      FLOOR INSTALLATION               31,705          20,228
2015 - PY2015   Le C.      FLOOR INSTALLATION               90,749          21,040
2013 - PY2013   LEB.       TRUCK DRIVER                    116,463          14,873
2014 - PY2014   LEB.       TRUCK DRIVER                    135,009          21,379
2015 - PY2015   LEB.                                       146,034          20,270
2016 - PY2016   LEB.       TRUCK DRIVER                    121,338           2,056
2016 - PY2016   LEC.       AUTO REPAIR & PAINTING          104,985             383
2016 - PY2016   LEC.       AUTO REPAIR & PAINTING           90,236             426
2015 - PY2015   LED.       HEALTH AND WELLNESS SALES           257          (4,763)
2016 - PY2016   LED.       HEALTH AND WELLNESS SALES           242          (4,586)
2016 - PY2016   LED.       MUSICIAN                         61,838           8,069
2014 - PY2014   LE*        BEAUTICIAN                       23,449           2,612
2015 - PY2015   LE*        BEAUTICIAN                       19,510          (2,748)
2016 - PY2016   LE*        BEAUTICIAN                       22,358           2,399
2013 - PY2013   LEL.       TRAINER                             985             985
2014 - PY2014   LEL.       TRAINER                          12,543             498
2015 - PY2015   LEL.       TRAINER                          19,486           5,375
2016 - PY2016   LEL.       TRAINER                          21,988           2,189
2013 - PY2013   LEW.                                        16,150             371
2016 - PY2016   LEW.       PLUMBER                          23,162          17,848
2016 - PY2016   LO.        MAINTENANCE                      15,400           9,062
2015 - PY2015   M. A.                                        9,162             765
2015 - PY2015   M. AL.     TATTOO ARTIST                    14,855          13,468
2016 - PY2016   M. AL.     TATTOO ARTIST                    15,310          11,155
2014 - PY2014   M. B.      POLICE DETAIL                       720             720
2016 - PY2016   M. B.      SECURITY DETAIL                   2,080             498
2014 - PY2014   M. BR.     SALES                             5,050           1,290
2013 - PY2013   M. BRE.    WAITRESS                          9,950           9,950
2014 - PY2014   M. BRE.    WAITRESS                         11,825          10,593
2015 - PY2015   M. BRE.    WAITRESS                         12,480          11,353
2016 - PY2016   M. BRE.    WAITRESS                         15,480          14,698
2015 - PY2015   M. BU.     ESTHETICIAN                      10,748           3,278
2016 - PY2016   M. BU.     ESTHETICIAN                      14,000           4,835
2013 - PY2013   M. C.      METAL FABRICATOR                 37,170          15,435
2014 - PY2014   M. C.      METAL FABRICATOR                 46,740          18,197
2015 - PY2015   M. C.      METAL FABRICATOR                 78,900          23,364
2016 - PY2016   M. C.      METAL FABRICATOR                 46,500          19,686
2013 - PY2013   M. CU.     HOUSEKEEPING                      3,200           3,200
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 24 of 38


2014 - PY2014   M. CU.     JANITORIAL                        3,600           3,600
2016 - PY2016   M. D.                                       80,966           6,818
2016 - PY2016   M. D.                                       71,923           6,178
2016 - PY2016   M. D.      INSTRUCTOR                       81,654           4,978
2014 - PY2014   M. DO.     MAINTENANCE                       5,733           1,723
2013 - PY2013   M. FO.     PERFORMING ARTIST -              81,705          18,814
2014 - PY2014   M. FO.     PERFORMING ARTIST -              74,930          19,761
2015 - PY2015   M. FO.     PERFORMING ARTIST - MUSIC        36,721          18,803
2016 - PY2016   M. FO.     PERFORMING ARTIST - MUSIC                       (13,109)
2013 - PY2013   M. GA.     CONSTRUCTION                     22,176          14,182
2015 - PY2015   M. GA.     CONSTRUCTION                     29,780          18,782
2016 - PY2016   M. GA.     CONSTRUCTION                     31,026          16,810
2013 - PY2013   M. GE.     DANCE INSTRUCTOR                  8,509             972
2014 - PY2014   M. GE.     DANCE INSTRUCTOR                  9,029              60
2015 - PY2015   M. GE.     DANCE INSTRUCTOR                 11,071           1,067
2016 - PY2016   M. GE.     DANCE INSTRUCTOR                 10,111           1,971
2016 - PY2016   M. H.      CARPENTRY                        26,019           8,925
2013 - PY2013   M. HA.     SALES                             2,685           2,315
2013 - PY2013   M. HA.     SALES                            34,742          19,675
2013 - PY2013   M. HI.     HORSE BOARDING                    4,800           3,565
2014 - PY2014   M. HI.     HORSE BOARDING                   13,920           7,170
2015 - PY2015   M. HI.     HORSE BOARDING                   14,400          10,634
2016 - PY2016   M. HI.     HORSE BOARDING                   14,400          10,534
2013 - PY2013   M. HIN.    ELECTRICIAN                      83,009          52,322
2014 - PY2014   M. HIN.    ELECTRICIAN                      77,096          40,598
2015 - PY2015   M. HIN.    ELECTRICIAN                      77,077          37,072
2016 - PY2016   M. HIN.    ELECTRICIAN                      69,660          30,910
2013 - PY2013   M. HU.     FIRE CHIEF                        9,600           4,510
2014 - PY2014   M. HU.     FIRE CHIEF                        9,600           5,045
2015 - PY2015   M. HU.     FIRE CHIEF                        9,600           3,195
2013 - PY2013   M. I.      PATIENT CARE                      7,813           2,090
2013 - PY2013   M JR       CLERICAL                         12,773           4,433
2014 - PY2014   M JR       CLERICAL                         14,233           5,303
2014 - PY2014   M. K.      SECURITY DETAIL                   4,170           1,085
2013 - PY2013   M. L.      PAINT INSPECTOR                  60,712          26,668
2014 - PY2014   M. L.      CONTRACT NURSE                    6,050           1,392
2014 - PY2014   M. L.      PAINT INSPECTOR                  81,757          52,045
2015 - PY2015   M. L.      CONTRACT NURSE                   11,000           8,850
2015 - PY2015   M. L.      PAINT INSPECTOR                  69,100          51,397
2016 - PY2016   M. L.      CONTRACT NURSE                   13,200          11,636
2016 - PY2016   M. L.      PAINT INSPECTOR                  71,161          46,177
2014 - PY2014   M. LI.                                       9,474             379
2015 - PY2015   M. LI.                                      18,627          11,308
2013 - PY2013   M. LY.     LAWN CARE                         6,000          (1,168)
2014 - PY2014   M. LY.     LAWN CARE                         8,925          (5,360)
2015 - PY2015   M. LY.     LAWN CARE                         9,500          (1,154)
2016 - PY2016   M. LY.     LAWN CARE                         6,450          (5,715)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 25 of 38


2013 - PY2013   M. MA.     ADMIN ASST                        8,758           3,259
2014 - PY2014   M. MA.     ADMIN ASST                       14,380             397
2014 - PY2014   M. MA.     ADMINISTRATION                    4,238           1,426
2015 - PY2015   M. MC.     DECKHAND                          1,525           1,203
2016 - PY2016   M. MC.     DECKHAND                          6,125             370
2016 - PY2016   M. MO.     COSMETIC AND HEALTH SALES            85         (11,507)
2013 - PY2013   M. NG.     SEAMSTRESS                       11,234             523
2014 - PY2014   M. NG.     SEAMSTRESS                        4,714             788
2015 - PY2015   M. NG.     SEAMSTRESS                        4,528           2,756
2016 - PY2016   M. NG.     SEAMSTRESS                       10,079           6,932
2016 - PY2016   M. PA.     MUSICIAN                          3,050          (3,570)
2014 - PY2014   M. PE.     SCHOOL BUS DRIVER                 9,317           7,742
2014 - PY2014   M. PE.     TRAWLING SEASONAL                49,193         (14,695)
2015 - PY2015   M. PE.     FISHERMAN                        89,043          12,561
2015 - PY2015   M. PE.     TRAWLING SEASONAL                62,111         (12,290)
2016 - PY2016   M. PE.     COMMERCIAL FISHERMAN             72,000          11,354
2016 - PY2016   M. PE.     TRAWLING SEASONAL                37,976          (7,861)
2015 - PY2015   M. PER.    HOME HEALTH                       3,050           1,236
2016 - PY2016   M. PER.    HOME HEALTH                       6,880           1,279
2013 - PY2013   M. PO.     RESTAURANT OWNER                 24,311         (31,533)
2013 - PY2013   M. PO.     WAITRESS                          9,500           9,500
2013 - PY2013   M. PU.     ESTHETICIAN                      15,395          10,939
2013 - PY2013   M. RI.     LAWNCARE                          2,990             388
2014 - PY2014   M. RI.     LAWNCARE                          3,310           1,812
2015 - PY2015   M. RI.     LAWNCARE                          3,430           1,151
2016 - PY2016   M. RI.     LAWNCARE                          3,540           1,297
2015 - PY2015   M. RIV.    SECURITY DETAIL                  40,202          21,761
2016 - PY2016   M. RIV.    SECURITY DETAIL                  37,619          14,544
2016 - PY2016   M. RO.                                      29,604          16,014
2016 - PY2016   M. RO.     CONSTRUCTION                     17,851           4,952
2013 - PY2013   M. ROJ.    DENTAL HYGENIST                     810             810
2014 - PY2014   M. ROJ.    DENTAL HYGENIST                   2,100           1,165
2013 - PY2013   M. RU.     TRUCKING                         65,209          19,259
2014 - PY2014   M. RU.     TRUCKING                         71,305          19,914
2015 - PY2015   M. RU.     TRUCKING                         66,607          22,291
2016 - PY2016   M. RU.     TRUCKING                         62,155          15,034
2013 - PY2013   M. SC.     LAWN CARE SERVICE                58,172          13,917
2014 - PY2014   M. SC.                                      62,956          15,521
2015 - PY2015   M. SC.     LAWN CARE SERVICE                54,161          14,662
2016 - PY2016   M. SC.     LAWN CARE SERVICE                66,944          20,721
2013 - PY2013   M. SO.     HOUSEKEEPING                      1,778             593
2013 - PY2013   M. TH.     INSTRUCTIONAL DESIGN             14,374          11,449
2014 - PY2014   M. TH.     INSTRUCTIONAL DESIGN             47,548          29,989
2015 - PY2015   M. TH.     INSTRUCTIONAL DESIGN             55,245          32,950
2016 - PY2016   M. TH.     INSTRUCTIONAL DESIGN             54,552          27,739
2013 - PY2013   M. TO.                                      12,845           3,122
2015 - PY2015   M. TR.     RECEPTIONIST                      5,600           2,693
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 26 of 38


2016 - PY2016   M. TR.     RECEPTIONIST                        9,780         3,039
2013 - PY2013   M. TRE.                                        3,135       (10,664)
2013 - PY2013   M. TRE.    LAWN CARE                           5,000        (2,215)
2015 - PY2015   M. V.      MMA PROFESSIONAL FIGHTER            3,000       (13,580)
2016 - PY2016   M. V.      MMA PROFESSIONAL FIGHTER            6,998       (13,243)
2013 - PY2013   M. VI.     CONSTRUCTION                       27,160         5,692
2014 - PY2014   M. VI.     CONSTRUCTION                        7,603         1,430
2015 - PY2015   M. VO.     JANITOR                             1,023         1,023
2015 - PY2015   M. VO.     RETAIL SALES                       (1,742)       (4,031)
2014 - PY2014   M. WI.     DAYCARE                             2,000         2,000
2013 - PY2013   M. YO.     INTERNET SERVICE                      265        (8,533)
2013 - PY2013   MA.        POLICE DETAILS                      3,900         2,025
2013 - PY2013   MAR.       CARPENTRY                          13,335        10,956
2014 - PY2014   MAR.       CARPENTRY                          24,000        13,656
2015 - PY2015   MAR.       CARPENTRY                          19,290        13,540
2016 - PY2016   MAR.       CARPENTRY                           9,758         9,658
2013 - PY2013   MARI.                                         25,600         1,070
2014 - PY2014   MARI.                                        152,711       124,651
2013 - PY2013   MART.      SALES                                 743        (2,412)
2015 - PY2015   MART.      SALES                                 963        (2,794)
2016 - PY2016   MAS.       SECURITY DETAIL                     2,240           567
2014 - PY2014   MAT.       PRIVATE INVESTIGATIO                5,663          (565)
2015 - PY2015   MAT.       PRIVATE INVESTIGATION               4,565           455
2014 - PY2014   MATH.                                          4,580         3,360
2015 - PY2015   Mc T.      SECURITY DETAIL                    10,203         3,945
2016 - PY2016   Mc T.      SECURITY DETAIL                    10,560         2,610
2013 - PY2013   ME.                                           76,918        27,025
2014 - PY2014   ME.                                           73,537        28,248
2014 - PY2014   ME.        MOBILE TIRE TECH                   63,430        23,215
2015 - PY2015   ME.        MOBILE TIRE TECH                   67,057        23,035
2016 - PY2016   ME.        MOBILE TIRE TECH                   61,060        22,718
2015 - PY2015   MEY.       SPEECH PATHOLOGY                   19,822        13,465
2016 - PY2016   MEY.       SPEECH PATHOLOGIST                  6,368         1,086
2013 - PY2013   MI.        DART SALES & POOL TA              108,244        10,744
2014 - PY2014   MI.        DART SALES & POOL TA               83,558        10,485
2015 - PY2015   MI.        DART SALES & POOL TABLE REPAIRS    67,054         9,994
2016 - PY2016   MI.        DART SALES & POOL TABLE REPAIRS    65,284        10,790
2013 - PY2013   MIL.       WELDER                                608           608
2016 - PY2016   MIX.       AUTOMOTIVE : MUFFLERS             160,508         2,473
2016 - PY2016   MIX.       AUTOMOTIVE : MUFFLERS             154,442        10,293
2014 - PY2014   MU.        ADMINISTRATIVE                     12,350         3,817
2015 - PY2015   MU.        ADMINISTRATIVE                      2,970        (8,276)
2016 - PY2016   MU.        MAINTENANCE : UTILITY & BORING    313,391        11,830
2016 - PY2016   N JR       MONOGRAMMING & UPHOLSTERY         179,098        10,590
2013 - PY2013   N. S.      CONSTRUCTION                       51,265        22,369
2014 - PY2014   N. S.      CONSTRUCTION                       51,890        21,564
2015 - PY2015   N. S.      CONSTRUCTION                       44,685        22,078
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 27 of 38


2016 - PY2016   N. S.      CONSTRUCTION                       30,743              23,338
2016 - PY2016   N. W.      MAINTENANCE : WELDER                 4,110              1,310
2016 - PY2016   N. WI.     INDEPENDENT ARTISTS, WRITERS, & PERFORMERS
                                                              81,264               1,011
2016 - PY2016   N. WIN.    FIRE TRAINER                         1,406                521
2014 - PY2014   NE.        SECURITY DETAIL                    14,645               3,608
2015 - PY2015   NE.        SECURITY DETAIL                      7,535                498
2016 - PY2016   NE.        SECURITY DETAIL                      2,025             (2,800)
2013 - PY2013   NG.        NAIL TECH                            6,180              4,870
2014 - PY2014   NG.        NAIL TECH                            5,990              4,365
2015 - PY2015   NG.        NAIL TECH                            6,230              4,528
2016 - PY2016   NG.        GROCERY STORE : MANAGER           165,819              39,641
2016 - PY2016   NG.        GROCERY STORE : MANAGER           165,819              39,641
2016 - PY2016   NG.        HEALTH FOOD SALES                    1,674              1,674
2016 - PY2016   NG.        NAIL SALON : NAIL TECH             16,914              10,613
2016 - PY2016   NG.        NAIL TECH                            4,460              2,421
2016 - PY2016   NU.        FOOD SERVICE                       97,942              12,814
2016 - PY2016   NU.        FOOD SERVICE                       76,101              15,083
2014 - PY2014   OL.        CRAFT SALES                         (2,817)            (6,100)
2015 - PY2015   OL.        CRAFT SALES                            618               (765)
2013 - PY2013   OT.        CLERICAL                             9,622              2,277
2014 - PY2014   OT.        CLERICAL                           11,385               3,462
2015 - PY2015   OT.        CLERICAL                           11,121               2,034
2016 - PY2016   OT.        CLERICAL                           12,275               1,831
2014 - PY2014   P. A.      SECURITY DETAIL                    15,197               1,102
2015 - PY2015   P. A.      SECURITY DETAIL                      9,725              1,503
2016 - PY2016   P. A.      SECURITY DETAIL                    10,855               1,223
2013 - PY2013   P. B.      DRYWALL & FLOORING                 58,175              15,083
2014 - PY2014   P. B.      DRYWALL & FLOORING                 58,821              12,332
2015 - PY2015   P. B.      DRYWALL & FLOORING                 60,575              15,586
2016 - PY2016   P. B.      DRYWALL & FLOORING                                   (13,530)
2015 - PY2015   P. BU.     DIRT CONTRACTORS, REPAIR AUTOMOBILE88,567 21315, -1812
2016 - PY2016   P. BU.     REPAIR AUTOMOBILE, DIRT CONTRACTORS49,596 -1294, -1138
2016 - PY2016   P. CA.     INDEPENDENT CONSULTANT : CANDLES       245             (3,013)
2014 - PY2014   P. CO.     SECURITY DETAIL                        960                960
2015 - PY2015   P. CO.     SECURITY DETAIL                        600                600
2013 - PY2013   P. COU.    CLERICAL                           15,900               9,805
2014 - PY2014   P. COU.    CLERICAL                             7,140              2,953
2013 - PY2013   P. FI.     CLERICAL                           14,300              14,300
2014 - PY2014   P. FI.     CLERICAL                           13,200              13,200
2015 - PY2015   P. FI.     CLERICAL                           13,750              13,750
2013 - PY2013   P. GI.     APPAREL SALES                       (1,442)            (1,442)
2013 - PY2013   P. GO.     PROPERTY MANAGEMENT                10,600              10,600
2014 - PY2014   P. GO.     PROPERTY MANAGEMENT                10,600              10,600
2015 - PY2015   P. GO.     PROPERTY MANAGEMENT                12,000              12,000
2016 - PY2016   P. GO.     PROPERTY MANAGEMENT                12,000              12,000
2015 - PY2015   P. HI.     PHOTOTYPE PRINTING                 28,000            (95,121)
2016 - PY2016   P. HI.     PHOTOTYPE PRINTING                 25,650            (93,615)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 28 of 38


2014 - PY2014   P. HY.     ENGINEER                          4,128             100
2015 - PY2015   P III      SECURITY DETAIL                   9,972           2,143
2016 - PY2016   P III      SECURITY DETAIL                  11,044           2,464
2013 - PY2013   P. I.      FLOORING                         83,285          50,198
2014 - PY2014   P. I.      FLOORING                         59,138          41,248
2014 - PY2014   P. I.      REALTOR                           9,426           2,399
2016 - PY2016   P. I.                                       61,895          35,266
2013 - PY2013   P JR       LAWN CARE                        29,785           2,929
2013 - PY2013   P JR       TRUCK DRIVER                    195,782          18,127
2013 - PY2013   P JR       TRUCK DRIVER                    147,879         (18,069)
2014 - PY2014   P JR       TRUCK DRIVER                    231,066          19,042
2014 - PY2014   P JR       TRUCK DRIVER                     59,304         (36,181)
2015 - PY2015   P JR       CONSTRUCTION : CARPE             20,905          12,108
2015 - PY2015   P JR       CONSTRUCTION : CARPENTRY         21,575          12,415
2015 - PY2015   P JR       LAWN CARE                         2,280         (14,217)
2015 - PY2015   P JR       SECURITY DETAIL                     990             990
2015 - PY2015   P JR       TRUCK DRIVER                    296,059          13,077
2016 - PY2016   P JR       CONSTRUCTION : CARPENTRY         26,528          10,445
2016 - PY2016   P JR       LAWN CARE                        16,955         (10,558)
2016 - PY2016   P JR       SECURITY DETAIL                   1,005           1,005
2016 - PY2016   P JR       TRUCK DRIVER                    248,942          16,194
2016 - PY2016   P. L.      CATALOG SALES                       145            (206)
2013 - PY2013   P. LA.     CONTRACTOR                       34,067          16,560
2013 - PY2013   P. LA.     REAL ESTATE                      20,139           7,575
2014 - PY2014   P. LA.     CONTRACTOR                       31,129           9,426
2014 - PY2014   P. LA.     REAL ESTATE                      51,566          26,230
2015 - PY2015   P. LA.     CONTRACTOR                       86,604          43,318
2015 - PY2015   P. LA.     REAL ESTATE                      51,974          27,405
2016 - PY2016   P. LA.     CONTRACTOR                       52,270          27,067
2016 - PY2016   P. LA.     REAL ESTATE                      76,475          42,727
2013 - PY2013   P. LE.     THERAPIST                         5,116           1,354
2013 - PY2013   P. LEN.    MAINTENANCE / CONSTR              5,649          (2,431)
2015 - PY2015   P. LEN.    MAINTENANCE / CONSTR              1,101          (4,840)
2015 - PY2015   P. LEN.    MAINTENANCE / CONSTRUCTION        3,666              95
2016 - PY2016   P. LEN.    MAINTENANCE / CONSTRUCTION        5,690             383
2013 - PY2013   P. LO.     SALES                              (958)         (2,436)
2013 - PY2013   P. LO.     SECURITY                          2,010           2,010
2014 - PY2014   P. LO.     SALES                               980          (1,456)
2014 - PY2014   P. LO.     SECURITY                          1,320             885
2015 - PY2015   P. LO.     COMPUTER WORK                     1,818             559
2015 - PY2015   P. LO.     SALES                               801          (2,511)
2016 - PY2016   P. LO.     SALES                               364          (2,653)
2013 - PY2013   P. M.      CLEANING                          4,800           4,800
2013 - PY2013   P. M.      LAWN CARE                         6,047           5,512
2014 - PY2014   P. M.      CLEANING                          6,000           6,000
2014 - PY2014   P. M.      LAWN CARE                         6,807           6,807
2015 - PY2015   P. M.      CLEANING                          7,200           6,138
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 29 of 38


2015 - PY2015   P. M.      LAWN CARE                           5,299         4,636
2016 - PY2016   P. M.      CLEANING                            7,200         7,200
2016 - PY2016   P. M.      LAWN CARE                           3,280         2,606
2013 - PY2013   P. MA.     SECURITY DETAIL                    14,103         4,705
2014 - PY2014   P. MA.     SECURITY DETAIL                    13,031         9,208
2015 - PY2015   P. MA.     SECURITY DETAIL                    21,575         8,084
2016 - PY2016   P. MA.     SECURITY DETAIL                    18,039         6,323
2013 - PY2013   P. P.      MUSICIAN                           10,140        (6,926)
2014 - PY2014   P. P.      MUSICIAN                           20,300            70
2015 - PY2015   P. P.      MUSICIAN                           21,150       (12,338)
2016 - PY2016   P. P.      MUSICIAN                           19,850       (11,571)
2013 - PY2013   P. R.      MEDIA RELATIONS                     1,350         1,350
2014 - PY2014   P. R.      MEDIA RELATIONS                     2,250         1,220
2016 - PY2016   P. R.      CERAMIC COATING SALES               8,176         3,970
2016 - PY2016   P. R.      MEDIA RELATIONS                     7,277         2,702
2013 - PY2013   P. S.      DELIVERY                            5,032           367
2015 - PY2015   P. S.      CONSTRUCTION                          680           255
2013 - PY2013   P. SC.     MAINTENANCE                        14,955         1,833
2014 - PY2014   P. SC.     MAINTENANCE                        17,016         2,094
2015 - PY2015   P. SC.     MAINTENANCE                        14,539         1,450
2016 - PY2016   P. SC.     MAINTENANCE                        14,833         2,280
2015 - PY2015   P. SO.     INSPECTIONS                        96,663        74,775
2016 - PY2016   P. SO.     INSPECTIONS                       141,215        96,516
2013 - PY2013   P. TH.     REAL ESTATE                        25,425         9,341
2014 - PY2014   P. TH.     REAL ESTATE                        20,933         6,902
2015 - PY2015   P. TH.     GUTTERS AND PATIOS INSTALLATION    13,638        (2,087)
2015 - PY2015   P. TH.     REAL ESTATE                        21,057         9,531
2016 - PY2016   P. TH.     GUTTERS AND PATIOS INSTALLATION    36,514         9,286
2016 - PY2016   P. TH.     REAL ESTATE                         3,640           111
2013 - PY2013   P. TO.     INSPECTIONS                         1,800         1,415
2013 - PY2013   P. TR.     MAINTENANCE                         1,040           640
2013 - PY2013   P. V.                                         35,872           337
2013 - PY2013   P. V.      TRUCK DRIVER                       35,445           432
2013 - PY2013   P. VE.     RETAIL HARDWARE STOR               37,117        (4,152)
2014 - PY2014   P. VE.     RETAIL HARDWARE STOR              (37,835)      (54,529)
2013 - PY2013   P. V*      NAIL TECH                          10,065         1,335
2014 - PY2014   P. V*      NAIL TECH                          10,056         1,326
2015 - PY2015   P. V*      NAIL TECH                           9,251         1,507
2016 - PY2016   P. V*      NAIL TECH                           9,865         1,663
2013 - PY2013   P. W.      TRUCKING                            2,128        (2,189)
2014 - PY2014   P. W.      TRUCKING                            1,476        (1,665)
2015 - PY2015   P. W.      TRUCKING                            1,144        (1,134)
2016 - PY2016   P. W.      TRUCKING                            6,798         1,496
2013 - PY2013   PA.        CONSTRUCTION                       39,632        15,722
2014 - PY2014   PA.        CONSTRUCTION                       31,922        15,150
2015 - PY2015   PAO.       COSMETICS SALES                       986
2016 - PY2016   PAO.       COSMETICS SALES                       261
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 30 of 38


2015 - PY2015   PAR.       PERSONNAL TRAINER                    5,500        5,500
2016 - PY2016   PAR.       PERSONAL TRAINER                    32,850       15,048
2015 - PY2015   PARK.      ANIMAL GROOMING                     19,160        7,332
2015 - PY2015   PARK.      PLUMBING REPAIR                     44,897       11,604
2016 - PY2016   PARK.       PLUMBING REPAIR                    28,548       10,386
2016 - PY2016   PARK.      ANIMAL GROOMING                     21,372        7,345
2013 - PY2013   PAU.       ADMINISTRATION                      14,995       11,135
2014 - PY2014   PAU.        A/C REPAIR AND MAINT                4,335       (3,187)
2014 - PY2014   PAU.       ADMINISTRATION,                     15,299       10,044
2015 - PY2015   PAU.       A/C REPAIR AND MAINTENANCE           8,710      (12,564)
2015 - PY2015   PAU.       ADMINISTRATION                      19,499       15,239
2016 - PY2016   PAU.       A/C REPAIR AND MAINTENANCE, ADMINISTRATION
                                                                9,275        1,325
2013 - PY2013   PAY.       JANITORIAL SERVICES                119,936       16,772
2014 - PY2014   PAY.       JANITORIAL SERVICES                 67,693        9,807
2015 - PY2015   PAY.       JANITORIAL SERVICES                  1,082          397
2013 - PY2013   PE.                                            31,954          408
2013 - PY2013   PE.        SHEETROCK / PAINTING                31,507        7,993
2014 - PY2014   PE.        DECKHAND                            10,477          708
2014 - PY2014   PE.        SHEETROCK / PAINTING                12,325        6,889
2015 - PY2015   PE.        DECKHAND                            12,053        2,178
2015 - PY2015   PE.        SHEETROCK / PAINTING CONTRACTOR 19,055           14,504
2016 - PY2016   PE.        DECKHAND                             9,413        2,373
2016 - PY2016   PE.        SHEETROCK / PAINTING CONTRACTOR 24,290           17,179
2016 - PY2016   PER.       UBER DRIVER                          7,771        3,461
2016 - PY2016   PI.        PAYROLL ACCOUNTING                   7,720        2,170
2015 - PY2015   PIT.       DRAIN CLEANING                       3,449        2,099
2016 - PY2016   PIT.       DRAIN CLEANING                       6,280        1,809
2014 - PY2014   PL.        HEALTH CARE / EDUCAT                   373      (31,304)
2015 - PY2015   PL.        HAUNTED HOUSE ENTERTAINMENT         80,019       24,402
2015 - PY2015   PL.        HEALTH CARE / EDUCATIONAL TRAINING               (5,920)
2015 - PY2015   PL.        TATTOO ARTIST                       24,215        4,117
2016 - PY2016   PL.        HAUNTED HOUSE ENTERTAINMENT         95,126       27,801
2016 - PY2016   PL.        HEALTH CARE / EDUCATIONAL TRAINING               (4,404)
2016 - PY2016   PL.        METAL BUILDING SALES                95,180       (2,196)
2015 - PY2015   PO.        MAINTENANCE                          1,610          683
2016 - PY2016   PO.        MAINTENANCE                          1,570          960
2013 - PY2013   PR.        CONSTRUCTION                        90,904       17,093
2014 - PY2014   PR.        CONSTRUCTION                       140,045       21,357
2015 - PY2015   PR.        CONSTRUCTION                        75,528       20,869
2015 - PY2015   PR.        EMBROIDERY                           3,453        3,453
2013 - PY2013   PRY.       SECURITY DETAIL                     14,822        2,300
2014 - PY2014   PRY.       SECURITY DETAIL                     21,876       (4,598)
2015 - PY2015   PRY.       SECURITY DETAIL                     15,648        5,146
2016 - PY2016   PRY.       SECURITY DETAIL                     12,028        2,398
2015 - PY2015   Q. D.      DAY CARE CENTER II                 193,269      (18,428)
2015 - PY2015   Q. D.      DAYCARE CENTER I                    48,525      (11,469)
2015 - PY2015   Q. D.      TRUCKING                           705,676       (8,292)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 31 of 38


2016 - PY2016   Q. D.      DAY CARE CENTER II                159,505               8,128
2016 - PY2016   Q. D.      DAYCARE CENTER I                   69,983             (23,501)
2016 - PY2016   Q. D.      TRUCKING                          452,310             (25,342)
2016 - PY2016   R. A.      TATTOO SUPPLIES                    15,708               2,008
2013 - PY2013   R. B.      SECURITY DETAIL                     6,075               3,815
2014 - PY2014   R. B.      SECURITY DETAIL                     2,205               2,205
2015 - PY2015   R. B.      SECURITY DETAIL                     1,830               1,447
2013 - PY2013   R. BU.     CARPENTRY                           6,545               4,225
2014 - PY2014   R. BU.     CARPENTRY                          32,730              23,115
2014 - PY2014   R. BU.     CARPENTRY                          12,565               6,242
2015 - PY2015   R. BU.     CARPENTRY                          29,420              21,499
2015 - PY2015   R. BU.     CARPENTRY                          14,280               9,008
2016 - PY2016   R. BU.     CARPENTRY                          36,080              12,368
2016 - PY2016   R. BU.     CARPENTRY                          33,440              24,759
2015 - PY2015   R. C.      CATERING                              720                 472
2013 - PY2013   R. CL.     ORTHOPEDIC SALES                   94,405              46,508
2014 - PY2014   R. CL.     ORTHOPEDIC SALES                   42,177               3,888
2013 - PY2013   R. CO.     INSPECTIONS                        10,000               9,240
2013 - PY2013   R. D.      RETAIL SALES                       (1,683)            (23,260)
2014 - PY2014   R. D.      RETAIL SALES                       (1,854)            (22,673)
2015 - PY2015   R. D.      MILLWRIGHT                          5,000               5,000
2015 - PY2015   R. D.      RETAIL SALES                       13,575              (6,332)
2016 - PY2016   R. D.      RETAIL SALES                       24,100              (5,291)
2015 - PY2015   R. DI.     AUTO DETAIL : SERVIC               53,904              14,980
2013 - PY2013   R. DO.     HAIR STYLIST                        1,853               1,145
2014 - PY2014   R. DO.     HAIR STYLIST                        6,789               1,129
2015 - PY2015   R. DO.     HAIR STYLIST                        9,678               3,803
2015 - PY2015   R. DO.     HEALTH SUPPLEMENTS                   (229)               (229)
2016 - PY2016   R. DO.     HAIR STYLIST                       11,072               9,057
2013 - PY2013   R. E.      SECURITY DETAIL                    53,438              32,392
2014 - PY2014   R. E.      SECURITY DETAIL                    55,320              16,453
2015 - PY2015   R. E.      SECURITY DETAIL                    34,208              17,613
2016 - PY2016   R. E.      SECURITY DETAIL                    28,653              16,121
2016 - PY2016   R. ES.     SALES                               3,542              (4,098)
2014 - PY2014   R. G.      TRAVEL AGENT                        1,855                 350
2014 - PY2014   R. H.                                          2,200                 380
2013 - PY2013   R. HI.     GAMING                              2,500             (28,796)
2014 - PY2014   R. HI.     GAMING                              2,500             (80,831)
2015 - PY2015   R. HI.     GAMING                              3,850             (88,657)
2016 - PY2016   R. HI.     GAMING, GAMING                             -116458, -116458
2013 - PY2013   R III      COLLISION REPAIR : B               10,170               2,031
2015 - PY2015   R III      COLLISION REPAIR                    2,029                 756
2016 - PY2016   R III      CRAFTS                             (3,377)             (5,281)
2016 - PY2016   R. J.      REFEREE                             1,197                 154
2014 - PY2014   R JR       SETTLEMENT                          5,000               2,578
2015 - PY2015   R JR       VIDEO EDITING                       1,120              (5,603)
2015 - PY2015   R. M.      TRUCK DRIVER : LONG HAUL DRIVER    99,786              26,766
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 32 of 38


2016 - PY2016   R. N.      CONSTRUCTION                        984             617
2013 - PY2013   R. P.      COSMETOLOGIST                     1,739             406
2014 - PY2014   R. P.      CHEF                              1,762             747
2014 - PY2014   R. P.      COSMETOLOGIST                     1,319             121
2015 - PY2015   R. P.      COSMETOLOGIST                       841             111
2015 - PY2015   R. PR.     JANITORIAL SERVICES               5,610           1,803
2016 - PY2016   R. PR.     JANITORIAL SERVICES               5,720           4,285
2013 - PY2013   R. R.      CONSTRUCTION                     39,412          21,241
2014 - PY2014   R. R.      CONSTRUCTION                     38,162          18,412
2015 - PY2015   R. R.      CONSTRUCTION                     38,077          14,235
2016 - PY2016   R. R.      CONSTRUCTION                     42,547          20,198
2015 - PY2015   R. RI.     SALES                             6,860           2,403
2016 - PY2016   R. RO.     CONSTRUCTION                     10,482           1,743
2013 - PY2013   R. SA.     PHOTOGRAPHY                      62,400          14,178
2016 - PY2016   R. W.      ATTORNEY                        639,427          12,431
2013 - PY2013   RA.                                         34,059          13,689
2013 - PY2013   RA.                                         30,183          14,032
2015 - PY2015   RA.        CONSTRUCTION                     30,450           6,644
2015 - PY2015   RI.        PHOTO RETOUCHING                  1,160             292
2016 - PY2016   RI.        HAIR STYLIST                     13,818           1,296
2016 - PY2016   RI.        PHOTO RETOUCHING                  2,199             632
2016 - PY2016   RIC.       AUTOMOTIVE PAINTING               6,750           1,964
2014 - PY2014   RIT.       SALES                             2,872             917
2013 - PY2013   RIV.       GRASS CUTTING                    39,753           9,837
2013 - PY2013   RIV.       GRASS CUTTING                     4,700           3,432
2014 - PY2014   RIV.       GRASS CUTTING                     4,500           3,443
2014 - PY2014   RIV.       GRASS CUTTING                    26,750           5,625
2015 - PY2015   RIV.       GRASS CUTTING                     4,500           3,313
2015 - PY2015   RIV.       GRASS CUTTING                    30,630           5,609
2016 - PY2016   RIV.       GRASS CUTTING                     4,500           3,074
2016 - PY2016   RIV.       GRASS CUTTING                    26,307           5,142
2013 - PY2013   RIVE.      HAIR STYLIST                     19,945           1,576
2014 - PY2014   RIVE.      HAIR STYLIST                     18,143          (1,605)
2015 - PY2015   RIVE.      HAIR STYLIST                     13,922             (54)
2015 - PY2015   RO.        TRUCKDRIVER                      11,626           2,201
2016 - PY2016   RO.        TRUCKDRIVER                       1,135          (4,470)
2016 - PY2016   ROD.       INSTALLATION                     11,100           7,110
2013 - PY2013   ROM.                                        31,543           8,381
2013 - PY2013   ROM.                                        27,921           7,146
2015 - PY2015   ROS.       DENTAL ASST                       1,119             313
2015 - PY2015   ROS.       HEALTH CARE SALES                   708            (275)
2013 - PY2013   ROSI.      CONTRACTOR                      263,151           8,835
2014 - PY2014   ROSI.      CONTRACTOR                      335,527            (752)
2016 - PY2016   ROSI.                                      342,431             120
2016 - PY2016   ROSI.      CONTRACTOR                      628,954             430
2016 - PY2016   ROSI.      CONTRACTOR                      342,431             120
2013 - PY2013   ROU.       TRUCK DRIVER                    150,480          34,720
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 33 of 38


2014 - PY2014   ROU.       TRUCK DRIVER                      154,088            34,228
2015 - PY2015   ROU.       TRUCK DRIVER                      149,614            34,456
2016 - PY2016   ROU.       TRUCK DRIVER                      120,260            26,726
2016 - PY2016   ROUS.      HAIR STYLIST                        73,293           11,124
2015 - PY2015   S. B.      CONSTRUCTION                        20,143            6,535
2014 - PY2014   S. BR.     HAIR STYLIST                        16,670           14,840
2014 - PY2014   S. C.      FOOD SERVICE                         3,594            2,144
2015 - PY2015   S. C.      FOOD SERVICE                         7,216            6,516
2013 - PY2013   S. H.      BARBER                               4,222            2,833
2015 - PY2015   S. H.      EMBROIDERY                             155             (883)
2016 - PY2016   S. H.      EMBROIDERY                             382           (3,833)
2015 - PY2015   S. J.      DAYCARE NURSERY                   311,714            12,421
2016 - PY2016   S. J.      DAYCARE NURSERY                   315,532            14,418
2015 - PY2015   S JR        FOOD SERVICES : CATERING           27,123          (57,499)
2015 - PY2015   S JR       ACCOUNT MANAGER : ADMIN ASSISTANT, 30,617            11,482
2016 - PY2016   S JR        ACCOUNT MANAGER : ADMIN ASSISTANT 11,250           (22,313)
2016 - PY2016   S JR       ACCOUNT MANAGER : TRANSPORT NITROGEN12,750
                                                                    PRODUCT SALES,
                                                                               (27,822)
                                                                                    ,
2016 - PY2016   S JR       FOOD SERVICES : CATERING          126,556             9,162
2016 - PY2016   S JR       FOOD SERVICES : FULL SERVICE RESTAURANT,
                                                               38,702         (116,646)
2013 - PY2013   S. L.      APPRAISAL                            4,149           (5,946)
2014 - PY2014   S. L.      APPRAISAL                            6,489            1,831
2015 - PY2015   S. L.      APPRAISAL                              934              684
2016 - PY2016   S. L.      APPRAISAL                            6,475              597
2015 - PY2015   S. LE.     TRUCKING                            92,773            2,204
2016 - PY2016   S. LE.     TRUCKING                          111,252             3,317
2015 - PY2015   S. MA.     INSURANCE ADJUSTOR                  56,858           37,011
2015 - PY2015   S. MA.     INSURANCE ADJUSTOR                  39,900            3,366
2016 - PY2016   S. MA.                                            -            (18,271)
2016 - PY2016   S. MA.     INSURANCE ADJUSTOR : STATUTORY EMPLOYEE
                                                             139,584           104,431
2016 - PY2016   S. MA.     INSURANCE ADJUSTOR : STATUTORY EMPLOYEE
                                                             139,584           104,431
2016 - PY2016   S. MA.     INSURANCE ADJUSTOR: INDEPENDENT 16,275               12,468
2016 - PY2016   S. MA.     INSURANCE ADJUSTOR: INDEPENDENT 16,275               12,468
2015 - PY2015   S. MAR.    RESEARCH                             4,643            2,625
2016 - PY2016   S. MAR.    RESEARCH                           (17,960)         (18,185)
2013 - PY2013   S. N.      GROCERY STORE                     208,981            10,524
2013 - PY2013   S. N.      SEAMSTRESS                          30,198           13,609
2013 - PY2013   S. R.      COMPUTER TECHNOLOGY                 26,894            7,324
2014 - PY2014   S. R.      COMPUTER TECHNOLOGY                 22,632            4,262
2015 - PY2015   S. R.      COMPUTER TECHNOLOGY                  3,735              885
2014 - PY2014   S. W.                                          95,797           59,035
2014 - PY2014   S. W.                                          94,979           53,316
2014 - PY2014   SA.        FOOD SERVICE - RESTA              106,730             7,956
2015 - PY2015   SA.        FOOD SERVICE - RESTAURANT           82,724            9,927
2016 - PY2016   SA.        FOOD SERVICE - RESTAURANT          (15,635)         (35,042)
2016 - PY2016   SAL.       CARPENTRY                         102,820            10,176
2013 - PY2013   SALT.      BODY ARTIST                         19,000            7,602
2014 - PY2014   SALT.      BODY ARTIST                         19,000            5,199
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 34 of 38


2013 - PY2013   SAN.       HOUSEKEEPING                      9,865           9,480
2014 - PY2014   SAN.       HOUSEKEEPING                      9,280           8,917
2015 - PY2015   SAN.       HOUSEKEEPING                      9,280           8,993
2014 - PY2014   SANT.      COLLISION REPAIR                 26,694           2,010
2015 - PY2015   SANT.      COLLISION REPAIR                 19,361          (8,291)
2016 - PY2016   SANT.      COLLISION REPAIR                 16,354         (12,268)
2013 - PY2013   SC.        LANDSCAPING                      41,565           9,772
2014 - PY2014   SC.        LANDSCAPING                      48,923          10,199
2015 - PY2015   SC.        LANDSCAPING                      45,976          11,149
2016 - PY2016   SC.        LANDSCAPING                      44,365           9,368
2013 - PY2013   SCH.       MAINTENANCE                      55,044          11,168
2013 - PY2013   SCH.       MAINTENANCE B                     9,600           2,411
2014 - PY2014   SCH.       MAINTENANCE                      69,558          16,830
2014 - PY2014   SCH.       MAINTENANCE B                       -            (3,221)
2015 - PY2015   SCH.       MAINTENANCE                                      15,699
2015 - PY2015   SCH.       MAINTENANCE B                    48,657          (2,300)
2016 - PY2016   SCH.       MAINTENANCE                                      12,611
2016 - PY2016   SCH.       MAINTENANCE B                    45,061          (2,300)
2013 - PY2013   SCHN.      HAIR STYLIST                     63,760          14,810
2013 - PY2013   SCHW.      HOUSEKEEPING                      1,778           1,308
2014 - PY2014   SCHW.      HOUSEKEEPING                      2,416           1,431
2015 - PY2015   SCHW.      HOUSEKEEPING                      2,857           1,396
2016 - PY2016   SCHW.      HOUSEKEEPING                      3,606           1,148
2014 - PY2014   SCHWE.                                      62,540         (16,158)
2014 - PY2014   SCHWE.     HORSE RACING                    123,639             432
2013 - PY2013   SCHWE.                                      34,636          22,849
2013 - PY2013   SER.       MAINTENANCE                      42,536           6,208
2013 - PY2013   SER.       TREE CLEARING                     1,965             415
2014 - PY2014   SER.       MAINTENANCE                      13,772           2,047
2015 - PY2015   SER.       TREE CLEARING                     5,188             431
2015 - PY2015   SER.       TREE CLEARING                     4,852             432
2016 - PY2016   SER.       MAINTENANCE / CONSTRUCTION        2,558             391
2016 - PY2016   SER.       TREE CLEARING                    14,640             413
2016 - PY2016   SER.       TREE CLEARING                    14,640             413
2013 - PY2013   SH.        VIDEO PRODUCTIONS                16,958           5,509
2014 - PY2014   SH.        VIDEO PRODUCTIONS                22,273          10,653
2015 - PY2015   SH.        VIDEO PRODUCTIONS                11,978           5,601
2016 - PY2016   SH.        UBER DRIVER                       6,221           4,861
2016 - PY2016   SH.        VIDEO PRODUCTIONS                 4,603          (1,327)
2013 - PY2013   SI.        CONSTRUCTION                      2,515           2,515
2014 - PY2014   SM.        TRUCK DRIVER                    108,164          32,817
2013 - PY2013   SO.        HOUSE CLEANING                   12,500          11,660
2013 - PY2013   SR         MUSICIAN                          4,375           1,520
2013 - PY2013   SR         POLICE DETAIL                    18,988           2,993
2014 - PY2014   SR         MUSICIAN                          3,245             717
2014 - PY2014   SR         POLICE DETAIL                    17,050           3,935
2015 - PY2015   SR         POLICE DETAIL                    20,902           5,142
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 35 of 38


2016 - PY2016    SR        POLICE DETAIL                    18,470           4,123
2013 - PY2013    St. P.    INSTRUCTOR                        8,920           4,395
2014 - PY2014    St. P.    INSTRUCTOR                        8,680           1,725
2015 - PY2015    St. P.    INSTRUCTOR                        1,654           1,394
2015 - PY2015    St. P.    MAINTENANCE                       7,492           4,991
2016 - PY2016    St. P.    SPORTS UMPIRE                     1,050            (273)
2016 - PY2016    St. P.    SPORTS UMPIRE                     1,050            (273)
2016 - PY2016    SU.       BARBER                           48,620          19,730
2013 - PY2013    T. A.     BARBER                           29,150          17,533
2014 - PY2014    T. A.     BARBER                           30,332          15,151
2015 - PY2015    T. A.     BARBER                           45,850          26,034
2014 - PY2014    T. B.     CLERICAL                          2,213           2,213
2013 - PY2013    T. BR.    FITNESS INSTRUCTION                 348             188
2014 - PY2014    T. BR.    FITNESS INSTRUCTION               2,177           1,357
2015 - PY2015    T. BR.    FITNESS INSTRUCTION               1,896           1,261
2016 - PY2016    T. BR.    FITNESS INSTRUCTION                                (160)
2015 - PY2015    T. BU.    LAWNCARE                           3,690            423
2014 - PY2014    T. C.     MANICURIST                        15,500         11,705
2016 - PY2016    T. H.     MANAGEMENT / CONSULTANT           16,665          7,443
2013 - PY2013    T. HU.    FIREFIGHTER                        2,450            840
2013 - PY2013    T. L.     INSURANCE ADJUSTOR               130,824         77,838
2014 - PY2014    T. L.     INSURANCE ADJUSTOR                98,376         47,238
2015 - PY2015    T. L.     INSURANCE ADJUSTOR                81,205         23,217
2016 - PY2016    T. L.     INSURANCE ADJUSTOR               121,704         48,270
2013 - PY2013    T. M.     NAIL TECHNICIAN                   12,500         12,500
2013 - PY2013    T. N.     SEAMSTRESS                        16,380            706
2013 - PY2013    T. N.     YACHT REFINISHER                  12,626          5,271
2014 - PY2014    T. N.     SEAMSTRESS                        16,365            690
2014 - PY2014    T. N.     YACHT REFINISHER                   2,062            432
2015 - PY2015    T. N.     CLOTHING                          12,002          2,592
2015 - PY2015    T. N.     SEAMSTRESS                        17,832          1,428
2016 - PY2016    T. N.     CLOTHING                          16,100          2,290
2016 - PY2016    T. N.     SEAMSTRESS                        22,935          2,100
2013 - PY2013    T. R.                                       73,283          5,576
2013 - PY2013    T. R.                                       50,652         11,792
 2016 - PY2016   T. R.     SALES                           2,870.00       1,170.00
2016 - PY2016    T. R.     SALES                              1,544            744
 2016 - PY2016   T. R.     TRUCK DRIVER                  121,567.00       8,559.00
2016 - PY2016    T. R.     TRUCK DRIVER                     100,708          5,760
2013 - PY2013    T. W.     COOKWARE SALES                       900         (2,259)
2013 - PY2013    T. WI.    RESTAURANT                        21,474         (7,111)
2014 - PY2014    T. WI.    RESTAURANT                        40,130         (3,750)
2015 - PY2015    T. WI.    RESTAURANT                        47,085         (6,389)
2016 - PY2016    T. WI.    RESTAURANT                        71,731          1,107
2013 - PY2013    TA.       SHEETROCK / PAINTING              30,255         19,930
2014 - PY2014    TA.       SHEETROCK / PAINTING              71,885         20,133
2015 - PY2015    TA.       SHEETROCK / PAINTING              44,943         16,086
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 36 of 38


2016 - PY2016   TA.        SHEETROCK / PAINTING              10,130          9,805
2013 - PY2013   TAR.       MANACURIST                          (328)        (2,119)
2014 - PY2014   TAR.       MANACURIST                          (674)        (5,298)
2013 - PY2013   TAS.       LANDSCAPING                        1,875          1,875
2014 - PY2014   TAS.       LANDSCAPING                        4,850         (1,444)
2015 - PY2015   TAS.       LANDSCAPING                        4,525            301
2016 - PY2016   TAS.       LANDSCAPING                        6,475            817
2013 - PY2013   TE.        LAWNCARE                           2,400           (376)
2014 - PY2014   TE.        LIMOUSINE DRIVER                   1,913            703
2013 - PY2013   TH.        METAL FABRICATOR                  27,078         14,788
2014 - PY2014   TH.        METAL FABRICATOR                  41,330         12,340
2015 - PY2015   TH.        METAL FABRICATOR                  51,261         15,041
2016 - PY2016   TH.        METAL FABRICATOR                  31,500         11,955
2013 - PY2013   TO.        SALES                              1,000            611
2014 - PY2014   TO.        SALES                              2,450            434
2015 - PY2015   TO.        SALES                              1,350            306
2013 - PY2013   TR.        MANICURIST                        20,002          5,931
2013 - PY2013   TR.        MANICURIST                         4,161         (1,228)
2014 - PY2014   TR.        MANICURIST                        39,096          9,356
2014 - PY2014   TR.        MANICURIST                         5,314          2,155
2015 - PY2015   TR.        MANICURIST                        29,353          9,770
2015 - PY2015   TR.        MANICURIST                         9,161          5,618
2016 - PY2016   TR.        MANICURIST                        34,126          9,873
2016 - PY2016   TR.        MANICURIST                         8,230          3,666
2013 - PY2013   TRE.                                         34,000         24,454
2013 - PY2013   TRE.       CONSTRUCTION                      34,000         24,454
2014 - PY2014   TRE.       CONSTRUCTION                      50,200         26,712
2015 - PY2015   TRE.       CONSTRUCTION                      53,500         28,189
2016 - PY2016   TRE.       CONSTRUCTION                      54,800         28,328
2015 - PY2015   TRO.       MAINTENANCE                        1,228            383
2015 - PY2015   TRU.       INSURANCE SALES                      797         (5,772)
2015 - PY2015   TRU.       JEFFERSON PARISH APPRAISAL SERVICE 1,345         (3,596)
2016 - PY2016   TRU.       INSURANCE SALES                    1,632         (5,770)
2016 - PY2016   TRU.       JEFFERSON PARISH APPRAISAL SERVICE 1,292           (609)
2016 - PY2016   U. B.      LEGAL : EXECUTIVE ASST            15,100          1,815
2016 - PY2016   U. B.      LEGAL : EXECUTIVE ASST            15,100          1,815
2014 - PY2014   U. T.      SECURITY DETAIL                    3,000          1,030
2015 - PY2015   U. T.      SECURITY DETAIL                    4,508          2,446
2016 - PY2016   U. T.      SECURITY DETAIL                    2,000          1,635
2013 - PY2013   V. B.                                         9,600          3,598
2013 - PY2013   V. BO.     BAIL BONDS AGENT                  39,895            380
2014 - PY2014   V. BO.     BAIL BONDS AGENT                  37,204            419
2015 - PY2015   V. BO.     BAIL BONDS AGENT                  33,127            428
2016 - PY2016   V. BO.     BAIL BONDS AGENT                  44,444            418
2013 - PY2013   V III      INSPECTOR                          9,600          3,139
2014 - PY2014   V III      INSPECTOR                          9,600          1,268
2015 - PY2015   V III      INSPECTOR                         10,007         (2,771)
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 37 of 38


2016 - PY2016   V III      INSPECTOR                         9,600           2,505
2016 - PY2016   V. L.      COMMERCIAL FISHERMAN                             13,780
2016 - PY2016   V. L.      DECKHAND                         79,581           4,310
2013 - PY2013   V. N.      CAPTAIN                          18,670           9,951
2013 - PY2013   V. N.      LOSS WAGES                       69,953          55,268
2014 - PY2014   V. N.      CAPTAIN                          38,250           5,663
2013 - PY2013   V. S.      AUTOMOTIVE ELECTRICA             13,180           3,545
2013 - PY2013   V. S.      SALES                             8,895             312
2014 - PY2014   V. T.      NAIL TECH                         4,872           4,377
2015 - PY2015   V. T.      NAIL TECH                        15,701          14,851
2016 - PY2016   V. T.      NAIL TECH                        12,023          11,953
2013 - PY2013   VA.        SECURITY DETAIL                   5,528           3,193
2014 - PY2014   VA.        SECURITY DETAIL                   4,350           3,635
2015 - PY2015   VA.        SECURITY DETAIL                   5,951           3,842
2016 - PY2016   VA.        SECURITY DETAIL                   4,338           2,283
2014 - PY2014   V. C.                                        2,050             420
2014 - PY2014   V. C.                                        1,982             238
2014 - PY2014   V. C.      MAINTENANCE                      12,826           3,105
2015 - PY2015   V. C.      CHARTER FISHING                   8,440           5,276
2015 - PY2015   V. C.      PLUMBING / MAINTENANCE           24,711         (12,714)
2016 - PY2016   V. NG.     COMMERCIAL FISHERMAN             62,508          (6,655)
2013 - PY2013   VAS.       MUSICIAN                          1,650           1,650
2014 - PY2014   VAS.       MUSICIAN                          3,500             775
2013 - PY2013   VI.        CONSTRUCTION                    201,347          54,638
2013 - PY2013   VI.        MAINTENANCE                      25,889           2,386
2014 - PY2014   VI.        CONSTRUCTION                    201,302          54,311
2014 - PY2014   VI.        MAINTENANCE                      29,585           2,423
2015 - PY2015   VI.        CONSTRUCTION                    246,673          55,247
2015 - PY2015   VI.        MAINTENANCE                      18,523           5,357
2016 - PY2016   VI.                                         12,743           3,593
2016 - PY2016   VI.        CONSTRUCTION                    315,233          57,155
2016 - PY2016   VIN.       CONSTRUCTION : RESIDENTIAL       10,330           4,949
2013 - PY2013   VIT.       CONSTRUCTION                      3,765           2,115
2014 - PY2014   VIT.       CONSTRUCTION                     28,465           7,855
2016 - PY2016   VIT.       DEMOLITION                       22,750           7,621
2016 - PY2016   VIV.       HAIR STYLIST                      8,539           2,682
2016 - PY2016   V*         NAIL TECH                         8,789           2,849
2013 - PY2013   W. F.      CLERICAL                          2,050           2,050
2013 - PY2013   W. F.      FISHING GUIDE                     1,600          (5,098)
2014 - PY2014   W. F.      CLERICAL                          7,040           3,040
2015 - PY2015   W. F.      CLERICAL                          3,378           1,048
2016 - PY2016   W. F.      CLERICAL                          6,650           1,040
2014 - PY2014   W. FR.                                         650             430
2013 - PY2013   W. H.      CONSTRUCTION                      4,850             129
2014 - PY2014   W. H.      CONSTRUCTION                      4,200              81
2015 - PY2015   W. H.      CONSTRUCTION                      4,200             190
2016 - PY2016   W. H.      CONSTRUCTION                      4,200              37
      Case 2:20-cr-00055-MLCF-KWR Document 51-16 Filed 09/01/20 Page 38 of 38


2013 - PY2013   W. HA.     MAINTENANCE                       37,440          13,604
2014 - PY2014   W. HA.     MAINTENANCE                       37,440          14,018
2015 - PY2015   W. HA.     MAINTENANCE                       37,440          15,293
2016 - PY2016   W. HA.     MAINTENANCE                       37,479           8,044
2015 - PY2015   W. HJ.     ATTORNEY                          45,284           8,669
2016 - PY2016   W. HJ.     ATTORNEY                         120,025           8,005
2016 - PY2016   W. HJ.     ATTORNEY                         102,110           8,251
2013 - PY2013   W III      BEAUTY SALON                      29,416           1,341
2014 - PY2014   W III      BEAUTY SALON                      17,550          (2,684)
2015 - PY2015   W III      BEAUTY SALON                      15,805          (1,421)
2016 - PY2016   W III      BEAUTY SALON                       3,600          (6,264)
2015 - PY2015   W. J.      DIETICIAN                          8,680             432
2016 - PY2016   W. J.      DIETICIAN                          9,201             428
2013 - PY2013   W. M.      CONSTRUCTION                       1,780           1,545
2014 - PY2014   W. S.      MAINTENANCE                        1,345             215
2013 - PY2013   W SR       REALTOR                           37,238           1,381
2014 - PY2014   W SR       REALTOR                           73,470          18,257
2015 - PY2015   W SR       REALTOR                           55,129          13,386
2016 - PY2016   W SR       REALTOR                           33,730          (6,846)
2013 - PY2013   W. W.      TRUCKDRIVER                      186,129          17,649
2014 - PY2014   W. W.      TRUCKDRIVER                      159,840          14,718
2015 - PY2015   W. W.      TRUCKDRIVER                      191,462          16,113
2016 - PY2016   W. W.      TRUCKDRIVER                      178,112          12,156
2013 - PY2013   W. WE.     PAINTER                              650             650
2014 - PY2014   W. WE.     LANDSCAPING                        1,225             770
2015 - PY2015   WA.        HOUSEKEEPING                       2,143             432
2016 - PY2016   WA.        HOUSEKEEPING                       2,424             427
2013 - PY2013   WILLIAMS   ATTORNEY                         578,569          85,225
2014 - PY2014   WILLIAMS   ATTORNEY                         820,502          88,491
2014 - PY2014   WI.        FOOD TRUCK CATERING                3,091         (22,536)
2015 - PY2015   WILLIAMS   ATTORNEY                         623,619          28,991
2015 - PY2015   WI.        FOOD TRUCK CATERING               28,734          13,982
2016 - PY2016   WI.        FOOD TRUCK CATERING               32,540          18,061
2015 - PY2015   WIN.       DRAIN CLEANING                   156,047          19,839
2016 - PY2016   WIN.       DRAIN CLEANING                   116,754          23,893
                                                         72,410,016       9,844,670
